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                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION
                                     www.flmb.uscourts.gov

IN RE:                                                                 Chapter 11 Cases

RED LOBSTER MANAGEMENT LLC,1                                           Case No. 6:24-bk-________
RED LOBSTER RESTAURANTS LLC,                                           Case No. 6:24-bk-________
RLSV, INC.,                                                            Case No. 6:24-bk-________
RED LOBSTER CANADA, INC.                                               Case No. 6:24-bk-________
RED LOBSTER HOSPITALITY LLC                                            Case No. 6:24-bk-________
RL KANSAS LLC                                                          Case No. 6:24-bk-________
RED LOBSTER SOURCING LLC                                               Case No. 6:24-bk-________
RED LOBSTER SUPPLY LLC                                                 Case No. 6:24-bk-________
RL COLUMBIA LLC                                                        Case No. 6:24-bk-________
RL OF FREDERICK, INC.                                                  Case No. 6:24-bk-________
RED LOBSTER OF TEXAS, INC.                                             Case No. 6:24-bk-________
RL MARYLAND, INC.                                                      Case No. 6:24-bk-________
RED LOBSTER OF BEL AIR, INC.                                           Case No. 6:24-bk-________
RL SALISBURY, LLC,                                                     Case No. 6:24-bk-________
RED LOBSTER INTERNATIONAL HOLDINGS LLC,                                Case No. 6:24-bk-________

      Debtors.                                                         (Joint Administration Pending)
_______________________________________/

DEBTORS’ FIRST OMNIBUS EMERGENCY MOTION FOR ORDER AUTHORIZING
     (A) REJECTION OF UNEXPIRED LEASES OF NON-RESIDENTIAL REAL
PROPERTY EFFECTIVE AS OF THE PETITION DATE, (B) ABANDONMENT OF ANY
REMAINING PERSONAL PROPERTY LOCATED AT THE LEASED PREMISES, AND
        (C) FIXING A BAR DATE FOR CLAIMS OF COUNTERPARTIES

                                     (Emergency Hearing Requested)

                                Basis for Requested Emergency Hearing

             The Debtors respectfully request the Court conduct an emergency hearing
             on this Motion. The Debtors seek to reject the unexpired leases and
             abandon any personal property remaining at leased premises on an

1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are Red Lobster Management LLC (6889); Red Lobster Sourcing LLC (3075); Red Lobster Supply
LLC (9187); RL Kansas LLC (2396); Red Lobster Hospitality LLC (5297); Red Lobster Restaurants LLC (4308); RL
Columbia LLC (7825); RL of Frederick, Inc. (9184); RL Salisbury, LLC (7836); RL Maryland, Inc. (7185); Red
Lobster of Texas, Inc. (1424); Red Lobster of Bel Air, Inc. (2240); RLSV, Inc. (6180); Red Lobster Canada,
Inc. (4569); and Red Lobster International Holdings LLC (4661). The Debtors’ principal offices are located at 450 S.
Orange Avenue, Suite 800, Orlando, FL 32801.



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             emergency basis effective as of the Petition Date in order to avoid
             incurring post-petition administrative rent. Prior to the Petition Date, the
             Debtors closed the restaurants, and vacated the spaces, that are the subject
             of these unexpired leases.


     THIS MOTION SEEKS TO REJECT CERTAIN UNEXPIRED NON-RESIDENTIAL
     REAL PROPERTY LEASES. PARTIES RECEIVING THIS MOTION SHOULD
     LOCATE THEIR NAMES AND UNEXPIRED NON-RESIDENTIAL REAL
     PROPERTY LEASES IN THE SCHEDULES ATTACHED TO EXHIBIT A OF THIS
     MOTION. THE ATTACHED EXHIBIT “A” LISTS THE NAME OF EACH PARTY
     TO A LEASE ALPHABETICALLY.


         The above-captioned debtors and debtors in possession (collectively, the “Debtors”), by and

through their proposed undersigned counsel, file this first omnibus emergency motion (“Motion”),

and pursuant to section 365(a) of Title 11 of the United States Code (the “Bankruptcy Code”) and

Rules 6006 and 6007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),

hereby request the entry of an order authorizing, but not directing, the Debtors to (i) reject certain

unexpired leases of non-residential real property (collectively, the “Rejected Leases”) set forth on

Exhibit A effective as of May 19, 2024 (the “Petition Date”), (ii) abandon, effective as of the Petition

Date, any personal property of the Debtors, including, but not limited to, furniture, fixtures, and

equipment that remains, as of the Petition Date, on any of the premises (collectively, the “Leased

Premises”) subject to the Rejected Leases, and (iii) fix a bar date for claims, if any, of the

counterparties to each Rejected Lease (the “Counterparties”). In support of the Motion, the Debtors

rely upon the Declaration of Jonathan Tibus in Support of Debtors’ Chapter 11 Petitions and First

Day Relief (the “First Day Declaration”), which was filed on or about the date hereof, and is

incorporated herein by reference, and represent as follows:




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                                                Jurisdiction

             1.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

             2.     Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

             3.     The statutory bases for the relief requested herein are sections 365(a) and 554 of

the Bankruptcy Code and Bankruptcy Rule 6006 and 6007.

                                               Background

A.       General Background

             4.     On the Petition Date, each of the Debtors filed a voluntary petition for relief under

chapter 11 of the Bankruptcy Code.

             5.     The Debtors are operating their businesses and managing their affairs as debtors in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

             6.     For a detailed description of the Debtors and their operations, the Debtors

respectfully refer the Court and parties in interest to the First Day Declaration.

B.       The Leases

         7.         The Debtors currently operate approximately 570 casual seafood restaurants primarily

located across the United States and Canada with nearly 36,000 employees.

         8.         With the assistance of Keen-Summit Capital Partners LLC (“Keen Summit”), the

Debtors’ real estate advisor, the Debtors’ lease rationalization process has accelerated in recent

weeks in connection with the Debtors’ broader restructuring efforts. Keen Summit has aided in the

Debtors’ review and identification of Leases that are likely to continue to drive losses for the

Debtors and should be rejected. The Debtors’ meticulous, well-considered lease rejection plan is

centered on value maximization.



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         9.      In order to manage their business and assets responsibly and economically, the

Debtors seek to reject unexpired leases of nonresidential property, which are a burden on the

Debtors and their estates. To that end, the Debtors have identified the Rejected Leases as leases

that the Debtors will not require to operate their business going forward and can be rejected

immediately, as of the Petition Date.

         10.     The Debtors are no longer occupying, nor have use for, the Leased Premises. The

Rejected Leases require the payment of base monthly rent, applicable sales taxes, and prorated

common area and real estate tax expenses associated with each applicable location. As a result, the

Rejected Leases and Personal Property (as defined below) remaining at the foregoing properties

have no value or benefit to the estates and will not be included as part of the assets for sale in these

chapter 11 cases.

         11.     The Debtors have determined, in their business judgment, to reject the Rejected

Leases and abandon any remaining Personal Property, effective as of the Petition Date, so as to

avoid the incurrence of continued rental obligations related to the Rejected Leases or the Leased

Premises.

                                          Relief Requested

         12.     By this Motion, the Debtors seek entry of an order, pursuant to section 365 of the

Bankruptcy Code and Bankruptcy Rule 6006, (a) authorizing and approving the Debtors’ rejection

of the Rejected Leases, effective as of the Petition Date, (b) confirming that any furniture, fixtures

and equipment or other assets remaining at each Leased Premises (collectively, the “Personal

Property”) not removed by the Petition Date or otherwise within the time agreed upon by and

among the Debtors and the Counterparty of the applicable Leased Premises (unless extended by

agreement among the Debtors and the applicable Counterparty) are deemed abandoned by the



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Debtors pursuant to section 554 of the Bankruptcy Code without the applicable Counterparty

incurring liability to any person or entity, and upon such abandonment at the time of the rejection

of the applicable lease for the Leased Premises, the applicable Counterparty shall be permitted to

use or dispose of such abandoned Personal Property remaining at such Leased Premises without

notice or liability to the Debtors or any third person or entity, and (c) fixing a bar date for claims,

if any, of the Counterparties.

         13.     The Debtors have concluded that the Rejected Leases are not necessary for a sale,

and have determined that continued performance under the Rejected Leases would constitute an

unnecessary drain upon the financial resources of Debtors’ cash (on account of May 2024 rent,

and all subsequent rents, and any related expenses for the Rejected Leases that would otherwise

accrue). In addition, the Debtors seek to abandon, effective as of the Petition Date, any Personal

Property that remains on any of the Leased Premises. The Debtors respectfully submit that this

related relief is necessary and appropriate.

         14.     To the extent notice of the Debtors’ intention to reject the Rejected Leases has not

been previously provided, the filing and service of this Motion shall serve as notice to the

Counterparties of the Debtors’ intention to reject the Rejected Leases listed on Exhibit A.

                                           Basis for Relief

A.       Rejection of the Rejected Leases, Effective as of the Petition Date, Reflects the
         Debtors’ Sound Business Judgment.

         15.     Section 365(a) of the Bankruptcy Code provides that a trustee or debtor in

possession, “subject to the court’s approval, may … reject any executory contract or unexpired

lease of the debtor.” 11 U.S.C. § 365(a); see also Univ. Med. Ctr. v. Sullivan (In re Univ. Med.

Ctr.), 973 F.2d 1065, 1075 (3d Cir. 1992). “This provision allows a trustee to relieve the

bankruptcy estate of burdensome agreements which have not been completely performed.” Stewart

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Title Guar. Co. v. Old Republic Nat’l Title Co., 83 F.3d 735, 741 (5th Cir. 1996) (citing In re

Muerexco Petroleum, Inc., 15 F.3d 60, 62 (5th Cir. 1994)); see also In re TOUSA, Inc., 598 Fed.

App’x 761, 763 n. 3 (11th Cir. March 26, 2015) (unpublished).

         16.     The right of a debtor-in-possession to reject unexpired leases and executory contracts

is fundamental to the bankruptcy process because it supplies a mechanism to eliminate financial

burdens on the bankruptcy estate. See In re Wells, 227 B.R. 553, 564 (Bankr. M.D. Fla. 1998). The

United States Court of Appeal for the Eleventh Circuit has noted that the decision to reject an

executory contract or unexpired lease is primarily administrative and should be given great deference

by the court, subject only to a review under the “business judgment” rule. See In Re Gardinier, Inc.,

831 F.2d 974, 976, n. 2 (11th Cir. 1987); Colony Beach & Tennis Club, Inc. v. Colony Beach &

Tennis Club Ass’n (In re Colony Beach & Tennis Club Ass'n, Inc.), Case No. 8:09-cv- 535-T-33,

2010 WL 746708, at *8 (M.D. Fla. March 2, 2010) (“[T]he bankruptcy court may not substitute

its own judgment for that of a debtor unless the debtor’s decision is so manifestly unreasonable

that it must be based upon bad faith, whim, or caprice.’”) (citing In re Surfside Resort and Suites,

Inc., 325 B.R. 465, 469 (Bankr. M.D. Fla. 2005) (internal citations omitted); Surfside Resort and

Suites, 325 B.R. at 469; In re Weaver Oil Co., Inc., No. 08-40379-LMK, 2008 WL 8202063, 2008

Bankr. LEXIS 4159, at *4-5 (Bankr. N.D. Fla. Nov. 17, 2008); See In re Summit Land Co., 13

B.R. 310, 315 (Bankr. D. Utah 1981) (absent extraordinary circumstances, court approval of a

debtor’s decision to assume or reject an unexpired lease “should be granted as a matter of course”);

see also NLRB v. Bildisco (In re Bildisco), 682 F.2d 72, 79 (3d Cir. 1982) (“The usual test for

rejection of an executory contract is simply whether rejection would benefit the estate, the

‘business judgment’ test.”); In re Taylor, 913 F.2d 102, 107 (3d Cir. 1990); see also In re Federal




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Mogul Global, Inc., 293 B.R. 124, 126 (D. Del. 2003); In re HQ Global Holdings, 290 B.R. 507,

511 (Bankr. D. Del. 2003).

         17.     The “business judgment” standard is not a strict standard; it requires only a showing

that either assumption or rejection of the executory contract or unexpired lease will benefit the

debtor’s estate. See Official Comm. of Subordinated Bondholders v. Integrated Res., Inc. (In re

Integrated Res., Inc.), 147 B.R. 650, 656 (S.D.N.Y. 1992) (quoting Smith v. Van Gorkum, 488

A.2d 858, 872 (Del. 1985)), appeal dismissed, 3 F.3d 49 (2d Cir. 1993). So long as the decision to

assume or reject is a reasonable exercise of business judgment, the court should approve the

assumption or rejection of an unexpired lease. See also NLRB v. Bildisco and Bildisco, 465 U.S.

513, 523 (1984); Group of Institutional Investors v. Chicago M. St. P. & P. R. R. Co., 318 U.S.

523, 550-51 (1943).

         18.     Rejection of an executory contract or unexpired lease is appropriate where rejection

of the contract or lease would benefit the estate. See Sharon Steel Corp. v. Nat’l Fuel Gas

Distribution Corp. (In re Sharon Steel Corp.), 872 F.2d 36, 40 (3d Cir. 1989). The standard for

rejection is satisfied when a trustee or debtor has made a business determination that rejection will

benefit the estate. See Commercial Fin. Ltd. v. Hawaii Dimensions, Inc. (In re Hawaii Dimensions,

Inc.), 47 B.R. 425, 427 (D. Haw. 1985) (“under the business judgment test, a court should approve

a debtor’s proposed rejection if such rejection will benefit the estate.”).

         19.     Pursuant to section 365(a) of the Bankruptcy Code, the Debtors seek to reject the

Rejected Leases effective as of the Petition Date in order to avoid the possibility of incurring any

additional expenses and costs related to the Rejected Leases. See NLRB v. Bildisco & Bildisco, 465

U.S. 513, 530 (1984) (stating that rejection relates back to the petition date); In re Manis Lumber

Co., 430 B.R. 269, 277 (N.D. Ga. 2009) (explaining that “a bankruptcy court has the equitable



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discretion to order that rejection operate retroactively when appropriate to effect its fundamental

objectives.”); see also, e.g., Pacific Shores Development, LLC v. At Home Corp. (In re At Home

Corp.), 392 F.3d 1064, 1070–71 (9th Cir. 2004) (holding that “a bankruptcy court, in exercising

its equitable powers under 11 U.S.C. § 105(a), may approve the retroactive rejection of a

nonresidential lease when ‘necessary or appropriate to carry out the provisions of’ § 365(d).”);

Thinking Machines Corp. v. Mellon Financial Services Corp. # 1 (In re Thinking Machines Corp.),

67 F.3d 1021, 1028 (1st Cir. 1995) (ruling that “a bankruptcy court, when principles of equity so

dictate, may approve a rejection of a nonresidential lease pursuant to section 365(a) retroactive to

the motion filing date.”); Stonebriar Mall Ltd. Partnership v. CCI Wireless, LLC (In re CCI

Wireless, LLC), 297 B.R. 133, 138 (D. Colo. 2003) (holding that a bankruptcy court “has authority

under section 365(d)(3) to set the effective date of rejection at least as early as the filing date of

the motion to reject”); In re Amber’s Stores, Inc., 193 B.R. 819, 827 (N.D. Tex. 1996); In re

Jamesway Corp., 179 B.R. 33, 37-38 (S.D.N.Y. 1995) (affirming bankruptcy court’s retroactive

approval of lease rejection).

         20.     The Debtors seek to reject the Rejected Leases, in accordance with principles of

sound business judgment and the circumstances of these cases. The Rejected Leases are, and will

continue to be, a burden to the Debtors’ estates. There are no longer operations at the particular

restaurants subject to the Rejected Leases, and the Debtors have no further use for each of the

Leased Premises. The Debtors have vacated or will vacate the Leased Premises as of the Petition

Date, and the Rejected Leases no longer provide any economic benefit to the Debtors’ estates.

         21.     Additionally, the Debtors have determined, in their reasonable business judgment,

that there is no net benefit that can be realized from an attempt to market and assign the Rejected

Leases. As a result, the Debtors have determined that the cost to the Debtors of continuing to



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occupy the Leased Premises under the Rejected Leases, and of performing the Debtors’ obligations

under the Rejected Leases and incurring unnecessary administrative expenses, is burdensome, and

that rejection of the Rejected Leases is, thus, in the best interests of the Debtors’ estates and their

creditors. For all of the above reasons, the Debtors submit that rejection of the Rejected Leases is

in the best interests of the Debtors’ estates and their creditors, and other parties in interest.

B.       Authorizing the Debtors to Abandon any Personal Property Remaining at the Leased
         Premises as of the Petition Date is Appropriate.

         22.     In the event that any Personal Property remains on any of the Leased Premises as

of the Petition Date, the Debtors request authority to abandon such Personal Property, pursuant to

section 554(a) of the Bankruptcy Code, with such abandonment being effective as of the Petition

Date.

         23.     Section 554(a) of the Bankruptcy Code provides that “[a]fter notice and a hearing,

the [debtor] may abandon any property of the estate that is burdensome to the estate or that is of

inconsequential value and benefit to the estate.” 11 U.S.C. § 554(a). The right to abandon is

virtually unfettered, unless abandonment of the property will contravene laws designed to protect

public health and safety and the property poses an imminent threat to the public’s welfare. See In

re Midlantic Nat’l Bank, 474 U.S. 494, 501 (1986). Neither of these limitations is relevant in this

case.

         24.     The Debtors submit that any abandoned Personal Property is of inconsequential

value or burdensome to the Debtors’ estates to remove. Among other things, the Debtors believe

that the cost of retrieving, marketing, and reselling the abandoned Personal Property outweighs

any recovery that the Debtors and their estates could reasonably hope to attain for such Personal

Property. For the avoidance of doubt, the Debtors will not abandon any Personal Property

containing any personal identifying information (which means information which alone or in

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conjunction with other information identifies an individual, including, but not limited to, an

individual’s name, social security number, date of birth, government-issued identification number,

account number, and credit or debit card number). As a result, the Debtors have determined, in

their business judgment, that the abandonment of any such Personal Property, effective as of the

Petition Date, is a sound exercise of their business judgment, and is necessary, prudent, and in the

best interests of the Debtors, their estates, and creditors.

C.       Claims Bar Date

         25.    As set forth above, the Counterparties may seek to assert claims in connection with

the Rejected Leases or the rejection or termination of the Rejected Leases.

         26.    Rule 3003(c)(3) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”) provides: “[t]he court shall fix . . . the time within which proofs of claim may be filed.”

Bankruptcy Rule 2002(a)(7) requires at least twenty-one days’ notice by mail of the time fixed for

filing proofs of claim and interest pursuant to Bankruptcy Rule 3003(c)(3).

         27.    The Debtors further request by this Motion that the Court fix the claims bar date

with respect to the Rejected Leases to be the claims bar date to be established by the Court for all

holders of general unsecured claims, failing which such claim or claims by the Counterparties shall

be forever barred.

         28.    The Debtors reserve any and all rights to object to any rejection damage claims or

other claims filed by any Counterparty.

                                       Reservation of Rights

         29.    Nothing contained herein should be construed as a waiver of any of the Debtors’

rights, defenses, or counterclaims with respect to any of the Rejected Leases. Nor does anything

contained herein constitute an acknowledgement that a particular Rejected Lease constitutes an



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unexpired lease of nonresidential real property under section 365 of the Bankruptcy Code, and has

not otherwise expired by its own terms or upon agreement of the parties as of the date hereof.

Further, nothing contained herein is intended or shall be construed as: (i) an admission as to the

validity, amount or priority of any claim against the Debtors; (ii) a waiver of the Debtors’ rights

to dispute any claim; (iii) a promise or requirement to pay any claim; (iv) a waiver of any claim or

cause of action of the Debtors that exists against any entity; (v) a ratification or assumption of any

agreement, contract or lease under section 365 of the Bankruptcy Code; (vi) a waiver of limitation

of the Debtors’ rights under the Bankruptcy Code, any other applicable law or any agreement; or

(vii) an admission or concession by the Debtors that any lien is valid, and the Debtors expressly

reserve and preserve their rights to contest the extent, validity, or perfection, or seek avoidance of,

any lien.

         WHEREFORE, the Debtors respectfully request that the Court enter an Order in the form

attached hereto as Exhibit B granting the relief requested herein and granting such other and

further relief as is just and proper.

                                        [Intentionally Blank]




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Dated:       May 19, 2024                            Respectfully submitted,

                                                     /s/ Paul Steven Singerman
W. Austin Jowers (pro hac vice pending)              Paul Steven Singerman
Jeffrey R. Dutson (pro hac vice pending)             Florida Bar No. 378860
Sarah Primrose (Bar No. 98742)                       BERGER SINGERMAN LLP
Christopher K. Coleman (pro hac vice pending)        1450 Brickell Avenue, Suite 1900
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– and –

Michael Fishel (pro hac vice pending)                Filer’s Attestation: Pursuant to Local Rule
KING & SPALDING LLP                                  1001-2(g)(3) regarding signatures, Paul
1100 Louisiana, Suite 4100                           Steven Singerman attests that concurrence
Houston, TX 77002                                    in the filing of this paper has been obtained.
Telephone:    (713) 751-3200
Email: mfishel@kslaw.com

                      Proposed Counsel for Debtors and Debtors-in-Possession




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                                        EXHIBIT A

                                      (Rejected Leases)




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Item #             Debtor                          Rejection Counterparty                         Store No.                   Description of Lease



                                                  10010 STATION LLC
                                                                                                                            LEASE FOR STORE #768
                                                    C/O MAPP LLC
  1)     RED LOBSTER RESTAURANTS LLC                                                              RL1_0768          9011 SNOWDEN SQUARE DRIVE, COLUMBIA,
                                                    9101 RIVER RD
                                                                                                                                 MARYLAND
                                             POTOMAC, MARYLAND 20854-4627




                                                 112 RLT LLC AND 116 RLT LLC
                                                   C/O HOLM & OHARA LLP                                                      LEASE FOR STORE #6363
  2)     RED LOBSTER HOSPITALITY LLC                                                              RL1_6363
                                               3 WEST 35TH STREET 9TH FLOOR                                         7835 INTERSTATE 35 S, SAN ANTONIO, TEXAS
                                                NEW YORK, NEW YORK 10001




                                                       1726 NC LLC
                                                                                                                             LEASE FOR STORE #6377
                                                 ATTN: CELESTE CARLESIMO
  3)     RED LOBSTER RESTAURANTS LLC                                                              RL1_6377         1726 GLIDEWELL DRIVE, BURLINGTON, NORTH
                                                   250 E 87TH ST APT 6A
                                                                                                                                   CAROLINA
                                              NEW YORK, NEW YORK 10128-3119




                                               20 TOWNE CENTER OWNER LLC
                                                 740 ST. NICHOLAS AVENUE                                                     LEASE FOR STORE #848
  4)     RED LOBSTER HOSPITALITY LLC                                                              RL1_0848
                                                   ATTN: MARCUS R. GREY                                            20 TOWNE CENTER CIRCLE, SANFORD, FLORIDA
                                                NEW YORK, NEW YORK 10031




                                                  2300 RESTAURANT CORP
                                                                                                                             LEASE FOR STORE #83
  5)     RED LOBSTER HOSPITALITY LLC           201 E LAS OLAS BLVD STE 1200                       RL1_0083
                                                                                                                   4010 WEST VINE STREET, KISSIMMEE, FLORIDA
                                           FORT LAUDERDALE, FLORIDA 33301-4434




                                          2355 NORTH HIGHWAY 41 ASSOCIATES LLC
                                                                                                                             LEASE FOR STORE #444
  6)     RED LOBSTER HOSPITALITY LLC       354 EISENHOWER PARKWAY SUITE 1900                      RL1_0444
                                                                                                                         2355 N US 41, NAPLES, FLORIDA
                                              LIVINGSTON, NEW JERSEY 07039




                                                      237 UPTOWN INC
                                                                                                                            LEASE FOR STORE #675
  7)     RED LOBSTER RESTAURANTS LLC                3307 GARLAND DRIVE                            RL1_0675
                                                                                                                 2100 RICHMOND ROAD, WILLIAMSBURG, VIRGINIA
                                             FALLS CHURCH, VIRGINIA 22041-2510




                                                2474 VALENTINE REALTY LLC
                                                                                                                            LEASE FOR STORE #203
                                            DBA RL NEW BRUNSWICK OWNER LLC
  8)     RED LOBSTER RESTAURANTS LLC                                                              RL1_0203        750 HIGHWAY 18 NORTH, EAST BRUNSWICK, NEW
                                                 C/O THE MORGAN GROUP
                                                                                                                                   JERSEY
                                           GREENWICH, CONNECTICUT 06830-7251



                                                   29 OCEAN PARKWAY, LLC
                                                    1245 HEWLETT PLAZA
                                                                                                                            LEASE FOR STORE #6331
  9)     RED LOBSTER RESTAURANTS LLC                      UNIT #56                                RL1_6331
                                                                                                                 810 S. WADSWORTH BLVD, LAKEWOOD, COLORADO
                                       ATTN: DAVID GARTENSTEIN & STEVEN GARTENSTEIN
                                                 HEWLETT , NEW YORK 11557



                                                      3087 RLGA, LLC
                                                   6428 POLO POINT WAY                                                       LEASE FOR STORE #665
 10)     RED LOBSTER RESTAURANTS LLC                                                              RL1_0665
                                                 ATTN: C/O LENORE RASHTY                                             2105 VETERANS BLVD, DUBLIN, GEORGIA
                                               DELRAY BEACH, FLORIDA 33484




                                               3909 SUNSET DRIVE OWNER LLC
                                                 740 ST. NICHOLAS AVENUE                                                     LEASE FOR STORE #409
 11)     RED LOBSTER HOSPITALITY LLC                                                              RL1_0409
                                                    ATTN: RUSSELL GREY                                               3909 SUNSET DRIVE, SAN ANGELO, TEXAS
                                                NEW YORK, NEW YORK 10031




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Item #             Debtor                      Rejection Counterparty                          Store No.                    Description of Lease


                                           39401 FREMONT BOULEVARD LLC
                                                 555 BRYANT STREET
                                                                                                                          LEASE FOR STORE #403
 12)     RED LOBSTER HOSPITALITY LLC                  SUITE 316                                RL1_0403
                                                                                                                39401 FREMONT BLVD, FREMONT, CALIFORNIA
                                               ATTN: ALLISON HUYNH
                                            PALO ALTO, CALIFORNIA 94301



                                           416 COMMERCE CENTER DRIVE LLC
                                                                                                                        LEASE FOR STORE #6292
                                                3518 VALLEYVIEW DRIVE
 13)     RED LOBSTER HOSPITALITY LLC                                                           RL1_6292         416 COMMERCE CENTER DRIVE, JACKSONVILLE,
                                                 ATTN: JUAN M. NUNEZ
                                                                                                                               FLORIDA
                                              KISSIMMEE, FLORIDA 34746




                                                 801 RED LOBSTER, LLC
                                       4601 PONCE DE LEON BOULEVARD SUITE 300                                             LEASE FOR STORE #246
 14)     RED LOBSTER HOSPITALITY LLC                                                           RL1_0246
                                               ATTN: MR. ROBERT BERRIN                                           1750 WEST 49TH STREET, HIALEAH, FLORIDA
                                             CORAL GABLES, FLORIDA 33146



                                            8407 LITTLE ROAD OWNER LLC
                                                 C/O TILDE GIACCHE
                                                                                                                           LEASE FOR STORE #97
 15)     RED LOBSTER RESTAURANTS LLC            13 EAST 12TH STREET                            RL1_0097
                                                                                                               1752 N. SHADELAND AVE, INDIANAPOLIS, INDIANA
                                            ATTN: TILDE MARIANI GIACCHÉ
                                             NEW YORK, NEW YORK 10003



                                        9069 VANTAGE POINT DRIVE OWNER LLC
                                                  1776 61ST STREET                                                        LEASE FOR STORE #873
 16)     RED LOBSTER HOSPITALITY LLC                                                           RL1_0873
                                                ATTN: JERRY BERTUNA                                               9069 VANTAGE POINT DR., DALLAS, TEXAS
                                             BROOKLYN, NEW YORK 11204




                                                     AFLI2 LLC
                                                3066 STELLING DRIVE                                                       LEASE FOR STORE #779
 17)     RED LOBSTER RESTAURANTS LLC                                                           RL1_0779
                                                  ATTN: ANGELA LI                                                 3040 DIAL DRIVE, COUNCIL BLUFFS, IOWA
                                            PALO ALTO, CALIFORNIA 94303




                                                     AJ CHEN LLC
                                                  ATTN DORIS CHEN                                                         LEASE FOR STORE #430
 18)     RED LOBSTER RESTAURANTS LLC                                                           RL1_0430
                                                 423 LAUREL OAK DR                                              2040 EDINBOROR ROAD, ERIE, PENNSYLVANIA
                                         SEWICKLEY, PENNSYLVANIA 15143-9392




                                                ARC CLORLFL001, LLC
                                             C/O HIFFMAN NATIONAL, LLC                                                     LEASE FOR STORE #899
 19)     RED LOBSTER HOSPITALITY LLC                                                           RL1_0899
                                            ONE OAKBROOK TERRACE #400                                            3552 E. COLONIAL DRIVE, ORLANDO, FLORIDA
                                          OAKBROOK TERRACE, ILLINOIS 60181




                                                    ARVIG4 LLC
                                                                                                                         LEASE FOR STORE #885
 20)     RED LOBSTER HOSPITALITY LLC          2750 NE 185TH ST STE 306                         RL1_0885
                                                                                                                7373 W COLONIAL DRIVE, ORLANDO, FLORIDA
                                           AVENTURA, FLORIDA 33180-2877




                                              BELUZ PROPERTIES X, LTD.
                                                                                                                          LEASE FOR STORE #6335
 21)     RED LOBSTER RESTAURANTS LLC             5109 80TH STREET                              RL1_6335
                                                                                                                8268 E NORTHFIELD BLVD, DENVER, COLORADO
                                               LUBBOCK, TEXAS 79424




                                                  BRIARHOLM INC
                                                                                                                          LEASE FOR STORE #861
 22)     RED LOBSTER HOSPITALITY LLC          1260 SOUTH RIVER ROAD                            RL1_0861
                                                                                                               6910 W. NEWBERRY ROAD, GAINESVILLE, FLORIDA
                                            CRANBURY, NEW JERSEY 08512




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                                                CALIFORNIA PROPERTY OWNER I, LLC
                                                C/O BRIXMOR PROPERTY GROUP, INC.
                                                                                                                                 LEASE FOR STORE #520
 23)     RED LOBSTER HOSPITALITY LLC            450 LEXINGTON AVENUE, 13TH FLOOR                      RL1_0520
                                                                                                                      8330 MIRA MESA BLVD, SAN DIEGO, CALIFORNIA
                                                      ATTN: GENERAL COUNSEL
                                                    NEW YORK, NEW YORK 10017




                                                 CALTAMP REALTY ASSOCIATES, LLC
                                                                                                                                  LEASE FOR STORE #28
 24)     RED LOBSTER HOSPITALITY LLC   C/O WIN PROPERTIES, INC. 10 RYE RIDGE PLAZA, SUITE 200         RL1_0028
                                                                                                                         2625 EAST BUSCH BLVD., TAMPA, FLORIDA
                                                   RYE BROOK, NEW YORK 10573




                                                        CB PORTFOLIO LLC
                                                      ATTN GRAHAM CARTER                                                           LEASE FOR STORE #884
 25)     RED LOBSTER HOSPITALITY LLC                                                                  RL1_0884
                                                        5515 BALCONES DR                                                10290 E. TECHNOLOGY BLVD., DALLAS, TEXAS
                                                     AUSTIN, TEXAS 78731-4907




                                           CG WATERTOWN LLC AND PW WATERTOWN LLC
                                                                                                                                 LEASE FOR STORE #654
 26)     RED LOBSTER HOSPITALITY LLC                   206 MAPLE LANE                                 RL1_0654
                                                                                                                      20831 STATE ROUTE 3, WATERTOWN, NEW YORK
                                               BRIDGEHAMPTON, NEW YORK 11932




                                       CHEUNG K. TOM LEUNG & BETTY YUEN-WAH LEUNG TRUST                                          LEASE FOR STORE #551
 27)     RED LOBSTER RESTAURANTS LLC                    10358 DUKE DRIVE                              RL1_0551        1010 N WESLEYAN BLVD, ROCKY MOUNT, NORTH
                                                    GILROY, CALIFORNIA 95020                                                           CAROLINA




                                                        CJ & J CORPORATION                                                       LEASE FOR STORE #322
 28)     RED LOBSTER HOSPITALITY LLC                    173 COYOTE BRUSH                              RL1_0322         391 WEST ARMY TRAIL ROAD, BLOOMINGDALE,
                                                     IRVINE, CALIFORNIA 92618                                                           ILLINOIS




                                                     CODDING ENTERPRISES
                                                                                                                                LEASE FOR STORE #609
 29)     RED LOBSTER HOSPITALITY LLC              3510 UNOCAL PLACE, SUITE 300                        RL1_0609
                                                                                                                     6440 REDWOOD DRIVE, ROHNERT PARK, CALIFORNIA
                                                  SANTA ROSA, CALIFORNIA 95403




                                              COLTRANE REAL ESTATE INVESTMENTS, LLC
                                                                                                                                  LEASE FOR STORE #680
 30)     RED LOBSTER HOSPITALITY LLC                2820 BEAR ISLAND POINTE                           RL1_0680
                                                                                                                     100 STATE ROAD 312 W, SAINT AUGUSTINE, FLORIDA
                                                   WINTER PAK, FLORIDA 32792




                                                        CONWAY INN CORP
                                                      DBA TENNESSEE RSR LLC                                                     LEASE FOR STORE #6341
 31)     RED LOBSTER RESTAURANTS LLC                                                                  RL1_6341
                                                        915 ENTERPRISE DR                                             7750 WINCHESTER ROAD, MEMPHIS, TENNESSEE
                                                 JONESBORO, ARKANSAS 72401-9201




                                                      COSTA DO SOESTO LLC
                                                   ATTN PABLO GUSTAVO LEIS                                                         LEASE FOR STORE #161
 32)     RED LOBSTER HOSPITALITY LLC                                                                  RL1_0161
                                                  C/O WILLIAM H ALBORNOZ PA                                                 2820 IH-10 EAST, BEAUMONT, TEXAS
                                                CORAL GABLES, FLORIDA 33134-3070




                                                   CR KINGSTON ASSOCIATES LLC
                                                    C/O CENTURION REALTY LLC                                                     LEASE FOR STORE #692
 33)     RED LOBSTER HOSPITALITY LLC                                                                  RL1_0692
                                                     500 5TH AVE 39TH FLOOR                                                1 MIRON LANE, KINGSTON, NEW YORK
                                                 NEW YORK, NEW YORK 10110-3899




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                                                         FAB-RITE LLC
                                                                                                                                LEASE FOR STORE #6384
 34)     RED LOBSTER HOSPITALITY LLC                     24 SENDERO                                   RL1_6384
                                                                                                                        14904 WEST 119TH STREET, OLATHE, KANSAS
                                         RANCHO SANTA MARGARITA, CALIFORNIA 92688-3007




                                                 FAR HORIZONS TRAILER VILLAGE LLC
                                                                                                                                LEASE FOR STORE #367
 35)     RED LOBSTER HOSPITALITY LLC                   15161 DE LA CRUZ DR                            RL1_0367
                                                                                                                      1400 HOWE AVENUE, SACRAMENTO, CALIFORNIA
                                              RANCHO MURIETA, CALIFORNIA 95683-9004




                                                       FNW REALTY CORP
                                                           FNWRL LLC                                                            LEASE FOR STORE #331
 36)     RED LOBSTER RESTAURANTS LLC                                                                  RL1_0331
                                                         1251 58TH ST                                                 1050 HOLCOMB BRIDGE RD, ROSWELL, GEORGIA
                                                 BROOKLYN, NEW YORK 11219-5174




                                               FSLRO 10700 PARALLEL KANSAS CITY LLC
                                                                                                                                 LEASE FOR STORE #6364
 37)     RED LOBSTER HOSPITALITY LLC               2000 MCKINNEY AVE STE 1000                         RL1_6364
                                                                                                                      10700 PARALLEL PARKWAY, KANSAS CITY, KANSAS
                                                     DALLAS, TEXAS 75201-2027




                                                    GCFP LIMITED PARTNERSHIP
                                                      C/O MATTHEW GORDER                                                          LEASE FOR STORE #406
 38)     RED LOBSTER HOSPITALITY LLC                                                                  RL1_0406
                                                       2623 SOVEREIGN WAY                                                 7404 ZAC LENTZ PKWY, VICTORIA, TEXAS
                                                 RIVERSIDE, CALIFORNIA 92506-5121




                                                            GELLY, LLC
                                                                                                                                 LEASE FOR STORE #200
                                                     17206 DOCTOR BIRD ROAD
 39)     RED LOBSTER RESTAURANTS LLC                                                                  RL1_0200          15700 SHADY GROVE ROAD, GAITHERSBURG,
                                                       ATTN: GERSON LOPEZ
                                                                                                                                      MARYLAND
                                                  SANDY SPRING, MARYLAND 20860



                                         GEORGE DUNAIANS AND FLORA DUNAIANS REVOCABLE
                                                             TRUST
                                                                                                                                LEASE FOR STORE #512
 40)     RED LOBSTER HOSPITALITY LLC              C/O RAFFI BILEMJIAN TRUSTEE                         RL1_0512
                                                                                                                     21233 HAWTHORNE BLVD, TORRANCE, CALIFORNIA
                                                      3375 LOMBARDY RD
                                                PASADENA, CALIFORNIA 91107-5647



                                       GEORGE N. SHERMAN; WILLIAM C. STUBBS III; HARPAL KAUR
                                               KHALSA C/O REAL ESTATE SERVICES INC                                               LEASE FOR STORE #408
 41)     RED LOBSTER HOSPITALITY LLC                                                                  RL1_0408
                                                          PO BOX 600653                                                  104 HIGHWAY 332, LAKE JACKSON, TEXAS
                                                   SAN DIEGO, CALIFORNIA 92160




                                                    GERALD AND RITA MESSURI
                                                                                                                                 LEASE FOR STORE #286
 42)     RED LOBSTER HOSPITALITY LLC                  20 ORCHARD HILL ROAD                            RL1_0286
                                                                                                                         198 WEST ROUTE 59, NANUET, NEW YORK
                                                    KATONAH, NEW YORK 11415




                                                     GREENWAY PROPERTY LLC
                                                   DBA GREENWAY PROPERTY LLC                                                     LEASE FOR STORE #6215
 43)     RED LOBSTER RESTAURANTS LLC                                                                  RL1_6215
                                                          PO BOX 14504                                                9067 EAST WESTVIEW RD, LONE TREE, COLORADO
                                                  SCOTTSDALE, ARIZONA 852674504




                                                       HKT ENTERPRISES, LLC
                                                                                                                                  LEASE FOR STORE #827
 44)     RED LOBSTER RESTAURANTS LLC                       PO BOX 444                                 RL1_0827
                                                                                                                      1271 U.S. ROUTE 22, BRIDGEWATER, NEW JERSEY
                                                    RARITAN, NEW JERSEY 08869




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                                                         ID SEAFOOD LLC
                                                 15915 VENTURA BOULEVARD, PH2                                                   LEASE FOR STORE #847
 45)     RED LOBSTER HOSPITALITY LLC                                                                 RL1_0847
                                                     ATTN: MATT WATERMAN                                                 2115 THAIN GRADE, LEWISTON, IDAHO
                                                    ENCINO, CALIFORNIA 91436




                                                       JFCF INVEST-3 LLC
                                                                                                                                LEASE FOR STORE #648
 46)     RED LOBSTER RESTAURANTS LLC                   20 HARRISON AVE                               RL1_0648
                                                                                                                       3009 BRITTANY COURT, ELKHART, INDIANA
                                                WALDWICK, NEW JERSEY 07463-1757




                                                   JOHNSONS TRAILER PARKS LLC
                                                                                                                               LEASE FOR STORE #6249
 47)     RED LOBSTER HOSPITALITY LLC                    16 TWIN ACRES DR                             RL1_6249
                                                                                                                      17021 PALM POINTE DRIVE, TAMPA, FLORIDA
                                                 KALISPELL, MONTANA 59901-7536




                                                        JOSEPH GAROFALO
                                                DBA JOSEPH J GAROFALO 2017 TRUST                                                LEASE FOR STORE #876
 48)     RED LOBSTER HOSPITALITY LLC                                                                 RL1_0876
                                                           7 EXETER DR                                                    1919 S. FIRST STREET, LUFKIN, TEXAS
                                                MARLBORO, NEW JERSEY 07746-2732




                                                 KANNAN NATARAJAN CO-TRUSTEE
                                                    NATARAJAN LIVING TRUST                                                     LEASE FOR STORE #858
 49)     RED LOBSTER RESTAURANTS LLC                                                                 RL1_0858
                                                        3624 LOWRY RD                                                4670 HARDY STREET, HATTIESBURG, MISSISSIPPI
                                               LOS ANGELES, CALIFORNIA 90027-1436




                                                   KIMCO REALTY CORPORATION
                                                       DBA LARGO PLAZA                                                           LEASE FOR STORE #454
 50)     RED LOBSTER HOSPITALITY LLC                                                                 RL1_0454
                                                         PO BOX 30344                                                  10500 E ULMERTON ROAD, LARGO, FLORIDA
                                                   TAMPA, FLORIDA 33630-3344




                                                     KIU ND HOLDINGS LLC
                                                                                                                                LEASE FOR STORE #641
                                                        C/O DAVID KIU
 51)     RED LOBSTER HOSPITALITY LLC                                                                 RL1_0641       2675 32ND AVENUE SOUTH, GRAND FORKS, NORTH
                                                      32 MAMMOLA WAY
                                                                                                                                       DAKOTA
                                              MEDFORD, MASSACHUSETTS 02155-2051




                                                        KOLEE 59 TRUST                                                           LEASE FOR STORE #412
 52)     RED LOBSTER HOSPITALITY LLC            5353 WEST ALABAMA STREET, #610                       RL1_0412        3162 S ATLANTIC AVE., DAYTONA BEACH SHORES,
                                                     HOUSTON, TEXAS 77056                                                               FLORIDA




                                                         KS SEAFOOD LLC
                                                 15915 VENTURA BOULEVARD, PH2                                                    LEASE FOR STORE #704
 53)     RED LOBSTER HOSPITALITY LLC                                                                 RL1_0704
                                                     ATTN: MATT WATERMAN                                                  2925 S. 9TH STREET, SALINA, KANSAS
                                                    ENCINO, CALIFORNIA 91436




                                                      L&S TOLUCA PROPERTIES
                                                                                                                                LEASE FOR STORE #228
 54)     RED LOBSTER HOSPITALITY LLC                     1393 PALISADES DR                           RL1_0228
                                                                                                                     7520 TRANSIT ROAD, WILLIAMSVILLE, NEW YORK
                                             PACIFIC PALISADES, CALIFORNIA 90272-2153




                                       LAUREL LAKES, LLC C/O MARYLAND FINANCIAL INVESTORS,
                                                               INC.                                                             LEASE FOR STORE #6306
 55)     RED LOBSTER RESTAURANTS LLC                                                                 RL1_6306
                                                2800 QUARRY LAKE DRIVE SUITE 340                                       14368 BALTIMORE AVE, LAUREL, MARYLAND
                                                   BALTIMORE, MARYLAND 21209




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                                             LEDGEWOOD OUTPARCEL INVESTORS LLC
                                               C/O ADVANCE REALTY DEVELOPMENT                                                  LEASE FOR STORE #695
 56)     RED LOBSTER RESTAURANTS LLC            1430 US HIGHWAY 206N, SUITE 100                    RL1_0695       303 ROUTE 10 - ROXBURY TOWNSHIP, LEDGEWOOD,
                                       ATTN: KURT. R. PADAVANO, CHIEF OPERATING OFFICER                                             NEW JERSEY
                                                 BEDMINSTER, NEW JERSEY 07921




                                                    LOD JACKSONVILLE LLC
                                                                                                                              LEASE FOR STORE #385
 57)     RED LOBSTER HOSPITALITY LLC                   450 SEVILLA AVE                             RL1_0385
                                                                                                                     8720 BAYMEADOWS, JACKSONVILLE, FLORIDA
                                                 CORAL GABLES, FLORIDA 33134




                                                     LOUIS WINTERMEYER
                                                       DBA RL 4010 LLC                                                       LEASE FOR STORE #307
 58)     RED LOBSTER HOSPITALITY LLC                                                               RL1_0307
                                                       893 ROUTE 9W S                                                  4010 MAPLE RD., AMHERST, NEW YORK
                                                 NYACK, NEW YORK 10960-5012




                                                    LTH INVESTMENTS LLC
                                                                                                                               LEASE FOR STORE #210
 59)     RED LOBSTER RESTAURANTS LLC           4422 DURHAM CHAPEL HILL BLVD                        RL1_0210
                                                                                                                  4416 CHAPEL HILL BLVD, DURHAM, NORTH CAROLINA
                                             DURHAM, NORTH CAROLINA 27707-2509




                                                          LUXONE LLC                                                          LEASE FOR STORE #150
 60)     RED LOBSTER HOSPITALITY LLC                   572 CHIMALUS DR                             RL1_0150          2801 NORTH MAYFAIR ROAD, WAUWATOSA,
                                               PALO ALTO, CALIFORNIA 94306-2707                                                    WISCONSIN




                                                          LUXONE LLC
                                                                                                                              LEASE FOR STORE #238
 61)     RED LOBSTER HOSPITALITY LLC                   572 CHIMALUS DR                             RL1_0238
                                                                                                                      3655 ORANGE PLACE, BEACHWOOD, OHIO
                                               PALO ALTO, CALIFORNIA 94306-2707




                                                MARK J FREITAG TRUST OF 1988
                                                                                                                               LEASE FOR STORE #6343
 62)     RED LOBSTER HOSPITALITY LLC                  207 HILLCREST DR                             RL1_6343
                                                                                                                  13090 CITY STATION DRIVE, JACKSONVILLE, FLORIDA
                                               DURANGO, COLORADO 81301-6516




                                                    MARVIN H GEISTLINGER
                                            DBA & LINDA J GEISTLINGER CO-TRUSTEE                                               LEASE FOR STORE #671
 63)     RED LOBSTER HOSPITALITY LLC                                                               RL1_0671
                                         MARVIN & LINDA GEISTLINGER REVOCABLE TRUST                                    2010 BUSINESS LANE, CHICO, CALIFORNIA
                                             SANTA ROSA, CALIFORNIA 95409-6004




                                          MESA VALLEY HOUSING ASSOCIATES II LIMITED
                                                         PARTNERSHIP                                                           LEASE FOR STORE #247
 64)     RED LOBSTER HOSPITALITY LLC                                                               RL1_0247
                                                      3 CHARTER OAK PL                                                 2965 ERIE BLVD. E, SYRACUSE, NEW YORK
                                             HARTFORD, CONNECTICUT 06106-1915



                                                 MIDWAY SHOPPING CENTER, L.P.
                                              C/O REGENCY CENTERS CORPORATION
                                                                                                                              LEASE FOR STORE #351
 65)     RED LOBSTER HOSPITALITY LLC           ONE INDEPENDENT DRIVE, SUITE 114                    RL1_0351
                                                                                                                    999 CENTRAL PARK AVE, SCARSDALE, NEW YORK
                                                 ATTN: LEASE ADMINISTRATION
                                               JACKSONVILLE, FLORIDA 32202-5019




                                                       MONTVISTA LLC
                                                                                                                              LEASE FOR STORE #529
 66)     RED LOBSTER HOSPITALITY LLC       1002 SOUTH FIRST STREET ATTN: HAI LUONG                 RL1_0529
                                                                                                                     9345 MONTE VISTA, MONTCLAIR, CALIFORNIA
                                                 ALHAMBRA, CALIFORNIA 91801




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                                                  MOUNT HUNGER HOLDINGS LLC
                                                      DBA RL DECATUR LLC                                                        LEASE FOR STORE #679
 67)     RED LOBSTER RESTAURANTS LLC                                                                 RL1_0679
                                                          1217 HIGH ST                                               2027 BELTLINE ROAD S.W., DECATUR, ALABAMA
                                                 BOULDER, COLORADO 80304-4112




                                                   OAKTREE INVESTMENTS 4 LLC
                                          C/O JOHN DAVID WILSON & BARBARA ANN WILSON                                            LEASE FOR STORE #6272
 68)     RED LOBSTER HOSPITALITY LLC                                                                 RL1_6272
                                                      6355 PRINCEVILLE CIR                                            4220 24TH AVENUE, FORT GRATIOT, MICHIGAN
                                            HUNTINGTON BEACH, CALIFORNIA 92648-5524




                                                         OLESEN AL, LLC
                                                                                                                               LEASE FOR STORE #539
 69)     RED LOBSTER RESTAURANTS LLC                  POST OFFICE BOX 274                            RL1_0539
                                                                                                                        1805 OPELIKA HWY, AUBURN, ALABAMA
                                                   BUELLTON, CALIFORNIA 93427




                                                     OP OAKHURST REALTY LLC
                                                                                                                                LEASE FOR STORE #244
 70)     RED LOBSTER RESTAURANTS LLC                     46 FLEMMING DR                              RL1_0244
                                                                                                                       2200 HIGHWAY 35, OAKHURST, NEW JERSEY
                                              HILLSBOROUGH, NEW JERSEY 08844-5281




                                       OVM DELAWARE LLC, CAMPBELL BLACKLIDGE PLAZA DE LLC,
                                       FIRST AVE./WETMORE OFFICE PLAZA DE LLC, AND TWOVM
                                                         INVESTMENTS LLC
                                                                                                                                LEASE FOR STORE #6350
 71)     RED LOBSTER HOSPITALITY LLC               C/O TOWN WEST REALTY, INC.                        RL1_6350
                                                                                                                      11695 N ORACLE ROAD, ORO VALLEY, ARIZONA
                                                   555 E. RIVER ROAD, SUITE 201
                                                     ATTN: DEBBIE HORVATH
                                                     TUCSON, ARIZONA 85704




                                                      PFA-C SILVER SPRING LC
                                                                                                                              LEASE FOR STORE #6293
 72)     RED LOBSTER RESTAURANTS LLC             12500 FAIR LAKES CIRCLE SUITE 400                   RL1_6293
                                                                                                                     8533 GEORGIA AVE, SILVER SPRING, MARYLAND
                                                     FAIRFAX, VIRGINIA 22033




                                                           PHILIP VELKA
                                                   DBA THE VELKA FAMILY TRUST                                                   LEASE FOR STORE #555
 73)     RED LOBSTER HOSPITALITY LLC                                                                 RL1_0555
                                                          1 MEMORY LN                                                   1345 DANA DRIVE, REDDING, CALIFORNIA
                                           SAN JUAN CAPISTRANO, CALIFORNIA 92675-1008




                                                      PROVENDER HALL I LLC
                                                        ATTN JOANNE FOX                                                        LEASE FOR STORE #343
 74)     RED LOBSTER HOSPITALITY LLC                                                                 RL1_0343
                                                     301 MISSION ST APT 29C                                           1500 W SOUTHWEST, LOOP 32, TYLER, TEXAS
                                              SAN FRANCISCO, CALIFORNIA 94105-6652




                                                     PROVENDER HALL IV LLC
                                                 C/O ATTN JOANNE FOX MANAGER                                                   LEASE FOR STORE #893
 75)     RED LOBSTER HOSPITALITY LLC                                                                 RL1_0893
                                                     301 MISSION ST APT 29C                                          1691 DUBLIN-GRANVILLE RD, COLUMBUS, OHIO
                                              SAN FRANCISCO, CALIFORNIA 94105-6652




                                                      RB SANDRINI FARMS LP
                                                      C/O RICHARD SANDRINI                                                     LEASE FOR STORE #315
 76)     RED LOBSTER HOSPITALITY LLC                                                                 RL1_0315
                                                       10889 CASEY AVENUE                                                3515 MCCANN RD., LONGVIEW, TEXAS
                                                  DELANO, CALIFORNIA 93215-9316




                                                       RL JENSEN BEACH LLC
                                                                                                                                LEASE FOR STORE #461
 77)     RED LOBSTER HOSPITALITY LLC          1950 BRIGHTON HENRIETTA TOWN LINE RD                   RL1_0461
                                                                                                                     3544 NW FEDERAL HWY, JENSEN BEACH, FLORIDA
                                                 ROCHESTER, NEW YORK 14623-2543




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                                       RL KAF LLC; RL SDN LLC; RL MPN LLC; RL KBN LLC; RL LCG LLC;
                                                         AND 10TH FAIRWAY LLC
                                                                                                                                    LEASE FOR STORE #189
 78)     RED LOBSTER HOSPITALITY LLC                DBA JM MANAGEMENT GROUP LLC                         RL1_0189
                                                                                                                       655 WEST JEFFERSON ROAD, ROCHESTER, NEW YORK
                                                           ATTN JOHN MESITI
                                                   ROCHESTER, NEW YORK 14624-1371




                                                             RL12580 LLC
                                                                                                                                    LEASE FOR STORE #6279
 79)     RED LOBSTER RESTAURANTS LLC                     14706 STURTEVANT RD                            RL1_6279
                                                                                                                        12580 JEFFERSON AVE, NEWPORT NEWS, VIRGINIA
                                                 SILVER SPRING, MARYLAND 20905-4457




                                                         ROBERT J SCULLIN
                                        SCULLIN REAL ESTATE V LLC AND SCULLIN REAL ESTATE VII
                                                                                                                                  LEASE FOR STORE #119
 80)     RED LOBSTER RESTAURANTS LLC                             LLC                                    RL1_0119
                                                                                                                       4455 WADSWORTH BLVD, WHEAT RIDGE, COLORADO
                                                   C/O SCULLIN MANAGEMENT INC
                                                BONITA SPRINGS, FLORIDA 34134-6906




                                                      ROWORTH ENTERPRISES LLC
                                                                                                                                   LEASE FOR STORE #404
 81)     RED LOBSTER HOSPITALITY LLC                        99-129 HOLO PL                              RL1_0404
                                                                                                                             4717 HIGHWAY 10, BAYTOWN, TEXAS
                                                       AIEA, HAWAII 96701-3026




                                                          RSC ASSOCIATES LLC
                                                                                                                                    LEASE FOR STORE #6267
 82)     RED LOBSTER RESTAURANTS LLC                         136 DEVON RD                               RL1_6267
                                                                                                                           941 EAST SAN MARNAN, WATERLOO, IOWA
                                                  ESSEX FELLS, NEW JERSEY 07021-1707




                                                              SAGA LLC
                                                                                                                                   LEASE FOR STORE #645
                                                      ATTN MR NILESH NAYAK
 83)     RED LOBSTER RESTAURANTS LLC                                                                    RL1_0645          119 TEMPLE LAKE DRIVE, COLONIAL HEIGHTS,
                                                    155 POTOMAC PSGE UNIT 626
                                                                                                                                          VIRGINIA
                                                  OXON HILL, MARYLAND 20745-1574



                                                         SCF RC FUNDING I, LLC
                                                ESSENTIAL PROPERTIES REALTY TRUST LLC
                                                                                                                                    LEASE FOR STORE #664
 84)     RED LOBSTER RESTAURANTS LLC             902 CARNEGIE CENTER BLVD., SUITE 520                   RL1_0664
                                                                                                                           2968 E TEXAS ST., BOSSIER CITY, LOUISIANA
                                                         ATTN: ASSET MANAGER
                                                     PRINCETON, NEW JERSEY 08540



                                                       SCF RC FUNDING III LLC
                                               ESSENTIAL PROPERTIES REALTY TRUST LLC
                                                                                                                                   LEASE FOR STORE #556
 85)     RED LOBSTER HOSPITALITY LLC         902 CARNEGIE CENTER BOULEVARD, SUITE 520                   RL1_0556
                                                                                                                          3217 VERMILLION STREET, DANVILLE, ILLINOIS
                                                       ATTN: ASSET MANAGER
                                                   PRINCETON, NEW JERSEY 08540




                                                            SERG 13 LLC
                                                                                                                                    LEASE FOR STORE #546
 86)     RED LOBSTER HOSPITALITY LLC                   1937 EAST 24TH STREET                            RL1_0546
                                                                                                                          3333 STATE ROAD 16, LA CROSSE, WISCONSIN
                                                     BROOKLYN, NEW YORK 11229




                                                         SHASHIKANT PATIL
                                                    DBA SPOORNA HOLDINGS LLC                                                        LEASE FOR STORE #36
 87)     RED LOBSTER RESTAURANTS LLC                                                                    RL1_0036
                                                        1131 MILLSTONE RUN                                                 1956 W. BROAD STREET, ATHENS, GEORGIA
                                                  WATKINSVILLE, GEORGIA 30677-6946




                                                       SKYHY PROPERTY LLC
                                                                                                                                    LEASE FOR STORE #320
 88)     RED LOBSTER RESTAURANTS LLC                     2330 ROUTH DR                                  RL1_0320
                                                                                                                         3112 N.W. CACHE ROAD, LAWTON, OKLAHOMA
                                              ROWLAND HEIGHTS, CALIFORNIA 91748-4859




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                                                          SMBSIRIS LLC
                                                                                                                                  LEASE FOR STORE #426
 89)     RED LOBSTER HOSPITALITY LLC                   58 WAVERLY STREET                              RL1_0426
                                                                                                                         1000 MCKINLEY MALL, BUFFALO, NEW YORK
                                                 BROOKLINE, MASSACHUSETTS 02445




                                                    SOCRATES INVESTMENTS INC
                                                                                                                                 LEASE FOR STORE #237
                                                   C/O KAUFMAN ROSSIN AND CO
 90)     RED LOBSTER RESTAURANTS LLC                                                                  RL1_0237        4243 NW EXPRESSWAY STREET, OKLAHOMA CITY,
                                                          ATTN S DEMAR
                                                                                                                                      OKLAHOMA
                                                    MIAMI, FLORIDA 33133-5344




                                                  SOUTH MIDTOWN PROPERTIES LLC
                                                           C/O WEIYE LIN                                                         LEASE FOR STORE #839
 91)     RED LOBSTER RESTAURANTS LLC                                                                  RL1_0839
                                                       1155 SWEETWATER DR                                                  370 MALL DRIVE, DANVILLE, VIRGINIA
                                                     RENO, NEVADA 89509-5250




                                                       TAAG VENTURES, LLC
                                                       4727 OSBORNE DRIVE                                                          LEASE FOR STORE #828
 92)     RED LOBSTER RESTAURANTS LLC                                                                  RL1_0828
                                                       ATTN: TYLER DANIELS                                           102 E. HALL OF FAME AVE., STILLWATER, OKLAHOMA
                                                       EL PASO, TEXAS 79922



                                       TAITZ RL MOBILE LLC; RPRL MOBILE LLC; AND WHRL MOBILE
                                                                  LLC
                                       C/O FEDERMAN STEIFMAN LLP 220 EAST 42ND STREET, 29TH                                        LEASE FOR STORE #40
 93)     RED LOBSTER RESTAURANTS LLC                                                                  RL1_0040
                                                                FLOOR                                                     3941 AIRPORT BLVD., MOBILE, ALABAMA
                                                  ATTN: MICHAEL K. FEDERMAN, ESQ.
                                                    NEW YORK, NEW YORK 10017



                                          THE EVELYN DIBENEDETTO FAMILY PARTNERSHIP LP
                                                                                                                                  LEASE FOR STORE #725
 94)     RED LOBSTER RESTAURANTS LLC                 225 FOX HUNT CRESCENT                            RL1_0725
                                                                                                                     10000 HWY. 17 N., MYRTLE BEACH, SOUTH CAROLINA
                                                    SYOSSET, NEW YORK 11791




                                                     THE GEORGE FAMILY TRUST
                                                                                                                                 LEASE FOR STORE #198
 95)     RED LOBSTER HOSPITALITY LLC                   4732 HAMPTON ROAD                              RL1_0198
                                                                                                                        4002 SPENCER HIGHWAY, PASADENA, TEXAS
                                                   LA CANADA, CALIFORNIA 91011




                                                  THE PROMENADE D'IBERVILLE, LLC
                                          ATTN: GENERAL COUNSEL/CHIEF LEGAL OFFICER 2030                                         LEASE FOR STORE #6357
 96)     RED LOBSTER RESTAURANTS LLC                HAMILTON PLACE BOULEVARD                          RL1_6357           3897 PROMENADE PARKWAY, D'IBERVILLE,
                                                       CBL CENTER, SUITE 500                                                           MISSISSIPPI
                                                CHATTANOOGA, TENNESSEE 37421-6000




                                                       THE STORAGE BIN INC
                                                                                                                                 LEASE FOR STORE #311
 97)     RED LOBSTER HOSPITALITY LLC                2945 RICHMOND TERRACE                             RL1_0311
                                                                                                                        2255 SOUTH RD, POUGHKEEPSIE, NEW YORK
                                               STATEN ISLAND, NEW YORK 10303-2310




                                                       TPI CYPRESS POINTE LLC
                                                  C/O TARANTINO PROPERTIES, INC.                                                 LEASE FOR STORE #840
 98)     RED LOBSTER HOSPITALITY LLC                                                                  RL1_0840
                                                     7887 SAN FELIPE, SUITE 237                                            302 FM 1960 WEST, HOUSTON, TEXAS
                                                      HOUSTON, TEXAS 77063




                                                         TR UWO FRED ZIESS
                                                DBA 3255 BRUNSWICK PIKE OWNER LLC                                                LEASE FOR STORE #239
 99)     RED LOBSTER RESTAURANTS LLC                                                                  RL1_0239
                                                       841 GILBERT HIGHWAY                                           3255 BRUNSWICK PIKE, LAWRENCEVILLE, NEW JERSEY
                                                   FAIRFIELD, CONNECTICUT 06824




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                                                 USP APOLLO, LLC
                                             C/O GRID PROPERTIES INC.                                                 LEASE FOR STORE #6385
100)     RED LOBSTER HOSPITALITY LLC                                                         RL1_6385
                                       2309 FREDERICK DOUGLASS BOULEVARD                                      261 WEST 125TH ST, NEW YORK, NEW YORK
                                           NEW YORK, NEW YORK 10027




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                                      EXHIBIT B

                                  (Proposed Order)




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                   UNITED STATES BANKRUPTCY COURT
                      MIDDLE DISTRICT OF FLORIDA
                             ORLANDO DIVISION
                             www.flmb.uscourts.gov
IN RE:                                           Chapter 11 Cases
RED LOBSTER MANAGEMENT LLC, 1                    Case No. 6:24-bk-________
RED LOBSTER RESTAURANTS LLC,                     Case No. 6:24-bk-________
RLSV, INC.,                                      Case No. 6:24-bk-________
RED LOBSTER CANADA, INC.                         Case No. 6:24-bk-________
RED LOBSTER HOSPITALITY LLC                      Case No. 6:24-bk-________
RL KANSAS LLC                                    Case No. 6:24-bk-________
RED LOBSTER SOURCING LLC                         Case No. 6:24-bk-________
RED LOBSTER SUPPLY LLC                           Case No. 6:24-bk-________
RL COLUMBIA LLC                                  Case No. 6:24-bk-________
RL OF FREDERICK, INC.                            Case No. 6:24-bk-________
RED LOBSTER OF TEXAS, INC.                       Case No. 6:24-bk-________
RL MARYLAND, INC.                                Case No. 6:24-bk-________
RED LOBSTER OF BEL AIR, INC.                     Case No. 6:24-bk-________
RL SALISBURY, LLC,                               Case No. 6:24-bk-________
RED LOBSTER INTERNATIONAL HOLDINGS LLC           Case No. 6:24-bk-________


1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number are Red Lobster Management LLC (6889); Red Lobster Sourcing LLC (3075); Red Lobster Supply
    LLC (9187); RL Kansas LLC (2396); Red Lobster Hospitality LLC (5297); Red Lobster Restaurants LLC (4308);
    RL Columbia LLC (7825); RL of Frederick, Inc. (9184); RL Salisbury, LLC (7836); RL Maryland, Inc. (7185);
    Red Lobster of Texas, Inc. (1424); Red Lobster of Bel Air, Inc. (2240); RLSV, Inc. (6180); Red Lobster Canada,
    Inc. (4569); and Red Lobster International Holdings LLC (4661). The Debtors’ principal offices are located at 450
    S. Orange Avenue, Suite 800, Orlando, FL 32801.


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      Debtors.                                                         (Joint Administration Pending)
_______________________________________/

                         ORDER GRANTING DEBTOR’S
        FIRST OMNIBUS EMERGENCY MOTION FOR ORDER AUTHORIZING
       (A) REJECTION OF UNEXPIRED LEASES OF NON-RESIDENTIAL REAL
    PROPERTY EFFECTIVE AS OF THE PETITION DATE, (B) ABANDONMENT OF
        ANY REMAINING PERSONAL PROPERTY LOCATED AT THE LEASED
    PREMISES, AND (C) FIXING A BAR DATE FOR CLAIMS OF COUNTERPARTIES

         THIS MATTER came before the Court on [•] [•], 2024 at [•] [a.m./p.m.], in Orlando,

Florida for a hearing (the “Hearing”),2 upon the Debtors’ First Omnibus Emergency Motion for

Order Authorizing (A) Rejection of Unexpired Leases of Non-Residential Real Property Effective

as of the Petition Date, (B) Abandonment of Any Remaining Personal Property Located at the

Leased Premises, and (C) Fixing a Bar Date for Claims of Counterparties [ECF No. [•]] (the

“Motion”). The Motion seeks entry of an order authorizing, but not directing, the above-captioned

debtors (the “Debtors”) to (a) reject the unexpired leases listed on Exhibit “A” to the Motion (the

“Rejected Leases”) and set forth in Exhibit 1 hereto, effective as of the Petition Date, (b) abandon

any remaining Personal Property located at the Leased Premises, and (c) fix a bar date for filing of

claims of the Counterparties to the Rejected Leases. The Court, having considered the Motion,

finding that (i) the Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334,

(ii) venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409, (iii) this matter is

core pursuant to 28 U.S.C. § 157(b)(2), (iv) the Court may enter a final order consistent with Article

III of the United States Constitution, and (v) notice of the Motion and the Hearing thereon was

sufficient under the circumstances and no other or further notice need be provided; and the Court

having determined that the legal and factual bases set forth in the Motion, the First Day Declaration

and at the Hearing establish just cause for the relief granted herein; and it appearing that the relief



2
    Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.


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requested in the Motion is in the best interests of the Debtors, their estates, their creditors, and all

parties in interest; and upon all of the proceedings had before the Court and after due deliberation

and sufficient cause appearing therefor, it is ORDERED that:

         1.      The Motion is GRANTED.

         2.      The Rejected Leases listed on Exhibit 1 attached hereto are rejected as of the

Petition Date.

         3.      The Debtors are authorized to abandon any Personal Property remaining at each

Leased Premises pursuant to section 554(a) of the Bankruptcy Code effective as of the Petition

Date without the applicable Counterparty incurring liability to any person or entity, and upon such

abandonment as of the Petition Date, the Counterparty is permitted to use or dispose of any

remaining property at such Leased Premises without notice or liability to the Debtors or any third

person or entity. To the extent the Debtors seek to abandon Personal Property that contain any

“personally identifiable information”, as that term is defined in section 101(41A) of the

Bankruptcy Code, or other personal and/or confidential information about the Debtors’ employees

and/or customers, or any other individual (the “Confidential Information”), the Debtors shall

remove the Confidential Information from such property before abandonment.

         4.      Absent further Order of the Court, the Counterparty for each Rejected Lease must

file a claim under section 502 of the Bankruptcy Code or other claims in connection with such

Rejected Lease or the rejection, breach or termination of such Rejected Lease by [             ], 2024,

failing which such claim or claims by the Counterparty shall be forever barred absent further Order

of the Court. The Debtors reserve all rights to contest any such claim and to contest the

characterization of each Rejected Lease, as executory or not.




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         5.      The Debtors do not waive any claims that the Debtors may have against the

Counterparty to any Rejected Lease, whether or not such claims are related to such Rejected Lease.

         6.      Nothing herein shall prejudice the rights of the Debtors or any party in interest to

argue that any of the Rejected Leases were terminated prior to the Petition Date, or that any claim

for damages arising from the rejection of the Rejected Leases is limited to the remedies available

under any applicable termination provision of such lease, sublease, or contract, as applicable, or

that any such claim is an obligation of a third party, and not that of the Debtors or their estates.

         7.      Notwithstanding the relief granted in this Order and any actions taken pursuant to

such relief, nothing in this Order shall be deemed: (a) an admission as to the amount of, basis for,

or validity of any claim against the Debtors under the Bankruptcy Code, any foreign bankruptcy

or insolvency law, or other applicable nonbankruptcy law; (b) a waiver of the Debtors’ or any other

party in interest’s right to dispute any claim on any grounds; (c) a promise or requirement to pay

any particular claim; (d) an implication or admission that any particular claim is of a type specified

or defined in this Order or the Motion; (e) a request or authorization to assume, adopt, or reject

any agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code; (f) an admission

to the validity, priority, enforceability, or perfection of any lien on, security interest in, or

encumbrance on property of the Debtors’ estates; or (g) a waiver of any claims or causes of action

which may exist against any entity under the Bankruptcy Code or any other applicable law.

         8.      Nothing in the Motion or this Order shall be deemed or construed as an approval of

an assumption of any lease, sublease, or contract pursuant to section 365 of the Bankruptcy Code,

and all such rights are reserved.

         9.      Nothing contained in the Motion or this Order is intended or should be construed

to create an administrative priority claim.



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         10.    The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Motion.

         11.    This Court shall retain jurisdiction with respect to all matters arising from or

relating to the interpretation, implementation, or enforcement of this Order.

         12.    Notwithstanding Bankruptcy Rule 6004(h), 7062, or 9014, the terms and conditions

of this Order shall be immediately effective and enforceable upon its entry.

                                               ###

(Attorney Paul Steven Singerman is directed to serve a copy of this order on interested parties who
do not receive service by CM/ECF and file a proof of service within three days of entry of the
order.)




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                                         Exhibit 1

                                      Rejected Leases




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                                                  10010 STATION LLC
                                                                                                                            LEASE FOR STORE #768
                                                    C/O MAPP LLC
  1)     RED LOBSTER RESTAURANTS LLC                                                              RL1_0768          9011 SNOWDEN SQUARE DRIVE, COLUMBIA,
                                                    9101 RIVER RD
                                                                                                                                 MARYLAND
                                             POTOMAC, MARYLAND 20854-4627




                                                 112 RLT LLC AND 116 RLT LLC
                                                   C/O HOLM & OHARA LLP                                                      LEASE FOR STORE #6363
  2)     RED LOBSTER HOSPITALITY LLC                                                              RL1_6363
                                               3 WEST 35TH STREET 9TH FLOOR                                         7835 INTERSTATE 35 S, SAN ANTONIO, TEXAS
                                                NEW YORK, NEW YORK 10001




                                                       1726 NC LLC
                                                                                                                             LEASE FOR STORE #6377
                                                 ATTN: CELESTE CARLESIMO
  3)     RED LOBSTER RESTAURANTS LLC                                                              RL1_6377         1726 GLIDEWELL DRIVE, BURLINGTON, NORTH
                                                   250 E 87TH ST APT 6A
                                                                                                                                   CAROLINA
                                              NEW YORK, NEW YORK 10128-3119




                                               20 TOWNE CENTER OWNER LLC
                                                 740 ST. NICHOLAS AVENUE                                                     LEASE FOR STORE #848
  4)     RED LOBSTER HOSPITALITY LLC                                                              RL1_0848
                                                   ATTN: MARCUS R. GREY                                            20 TOWNE CENTER CIRCLE, SANFORD, FLORIDA
                                                NEW YORK, NEW YORK 10031




                                                  2300 RESTAURANT CORP
                                                                                                                             LEASE FOR STORE #83
  5)     RED LOBSTER HOSPITALITY LLC           201 E LAS OLAS BLVD STE 1200                       RL1_0083
                                                                                                                   4010 WEST VINE STREET, KISSIMMEE, FLORIDA
                                           FORT LAUDERDALE, FLORIDA 33301-4434




                                          2355 NORTH HIGHWAY 41 ASSOCIATES LLC
                                                                                                                             LEASE FOR STORE #444
  6)     RED LOBSTER HOSPITALITY LLC       354 EISENHOWER PARKWAY SUITE 1900                      RL1_0444
                                                                                                                         2355 N US 41, NAPLES, FLORIDA
                                              LIVINGSTON, NEW JERSEY 07039




                                                      237 UPTOWN INC
                                                                                                                            LEASE FOR STORE #675
  7)     RED LOBSTER RESTAURANTS LLC                3307 GARLAND DRIVE                            RL1_0675
                                                                                                                 2100 RICHMOND ROAD, WILLIAMSBURG, VIRGINIA
                                             FALLS CHURCH, VIRGINIA 22041-2510




                                                2474 VALENTINE REALTY LLC
                                                                                                                            LEASE FOR STORE #203
                                            DBA RL NEW BRUNSWICK OWNER LLC
  8)     RED LOBSTER RESTAURANTS LLC                                                              RL1_0203        750 HIGHWAY 18 NORTH, EAST BRUNSWICK, NEW
                                                 C/O THE MORGAN GROUP
                                                                                                                                   JERSEY
                                           GREENWICH, CONNECTICUT 06830-7251



                                                   29 OCEAN PARKWAY, LLC
                                                    1245 HEWLETT PLAZA
                                                                                                                            LEASE FOR STORE #6331
  9)     RED LOBSTER RESTAURANTS LLC                      UNIT #56                                RL1_6331
                                                                                                                 810 S. WADSWORTH BLVD, LAKEWOOD, COLORADO
                                       ATTN: DAVID GARTENSTEIN & STEVEN GARTENSTEIN
                                                 HEWLETT , NEW YORK 11557



                                                      3087 RLGA, LLC
                                                   6428 POLO POINT WAY                                                       LEASE FOR STORE #665
 10)     RED LOBSTER RESTAURANTS LLC                                                              RL1_0665
                                                 ATTN: C/O LENORE RASHTY                                             2105 VETERANS BLVD, DUBLIN, GEORGIA
                                               DELRAY BEACH, FLORIDA 33484




                                               3909 SUNSET DRIVE OWNER LLC
                                                 740 ST. NICHOLAS AVENUE                                                     LEASE FOR STORE #409
 11)     RED LOBSTER HOSPITALITY LLC                                                              RL1_0409
                                                    ATTN: RUSSELL GREY                                               3909 SUNSET DRIVE, SAN ANGELO, TEXAS
                                                NEW YORK, NEW YORK 10031




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                                           39401 FREMONT BOULEVARD LLC
                                                 555 BRYANT STREET
                                                                                                                          LEASE FOR STORE #403
 12)     RED LOBSTER HOSPITALITY LLC                  SUITE 316                                RL1_0403
                                                                                                                39401 FREMONT BLVD, FREMONT, CALIFORNIA
                                               ATTN: ALLISON HUYNH
                                            PALO ALTO, CALIFORNIA 94301



                                           416 COMMERCE CENTER DRIVE LLC
                                                                                                                        LEASE FOR STORE #6292
                                                3518 VALLEYVIEW DRIVE
 13)     RED LOBSTER HOSPITALITY LLC                                                           RL1_6292         416 COMMERCE CENTER DRIVE, JACKSONVILLE,
                                                 ATTN: JUAN M. NUNEZ
                                                                                                                               FLORIDA
                                              KISSIMMEE, FLORIDA 34746




                                                 801 RED LOBSTER, LLC
                                       4601 PONCE DE LEON BOULEVARD SUITE 300                                             LEASE FOR STORE #246
 14)     RED LOBSTER HOSPITALITY LLC                                                           RL1_0246
                                               ATTN: MR. ROBERT BERRIN                                           1750 WEST 49TH STREET, HIALEAH, FLORIDA
                                             CORAL GABLES, FLORIDA 33146



                                            8407 LITTLE ROAD OWNER LLC
                                                 C/O TILDE GIACCHE
                                                                                                                           LEASE FOR STORE #97
 15)     RED LOBSTER RESTAURANTS LLC            13 EAST 12TH STREET                            RL1_0097
                                                                                                               1752 N. SHADELAND AVE, INDIANAPOLIS, INDIANA
                                            ATTN: TILDE MARIANI GIACCHÉ
                                             NEW YORK, NEW YORK 10003



                                        9069 VANTAGE POINT DRIVE OWNER LLC
                                                  1776 61ST STREET                                                        LEASE FOR STORE #873
 16)     RED LOBSTER HOSPITALITY LLC                                                           RL1_0873
                                                ATTN: JERRY BERTUNA                                               9069 VANTAGE POINT DR., DALLAS, TEXAS
                                             BROOKLYN, NEW YORK 11204




                                                     AFLI2 LLC
                                                3066 STELLING DRIVE                                                       LEASE FOR STORE #779
 17)     RED LOBSTER RESTAURANTS LLC                                                           RL1_0779
                                                  ATTN: ANGELA LI                                                 3040 DIAL DRIVE, COUNCIL BLUFFS, IOWA
                                            PALO ALTO, CALIFORNIA 94303




                                                     AJ CHEN LLC
                                                  ATTN DORIS CHEN                                                         LEASE FOR STORE #430
 18)     RED LOBSTER RESTAURANTS LLC                                                           RL1_0430
                                                 423 LAUREL OAK DR                                              2040 EDINBOROR ROAD, ERIE, PENNSYLVANIA
                                         SEWICKLEY, PENNSYLVANIA 15143-9392




                                                ARC CLORLFL001, LLC
                                             C/O HIFFMAN NATIONAL, LLC                                                     LEASE FOR STORE #899
 19)     RED LOBSTER HOSPITALITY LLC                                                           RL1_0899
                                            ONE OAKBROOK TERRACE #400                                            3552 E. COLONIAL DRIVE, ORLANDO, FLORIDA
                                          OAKBROOK TERRACE, ILLINOIS 60181




                                                    ARVIG4 LLC
                                                                                                                         LEASE FOR STORE #885
 20)     RED LOBSTER HOSPITALITY LLC          2750 NE 185TH ST STE 306                         RL1_0885
                                                                                                                7373 W COLONIAL DRIVE, ORLANDO, FLORIDA
                                           AVENTURA, FLORIDA 33180-2877




                                              BELUZ PROPERTIES X, LTD.
                                                                                                                          LEASE FOR STORE #6335
 21)     RED LOBSTER RESTAURANTS LLC             5109 80TH STREET                              RL1_6335
                                                                                                                8268 E NORTHFIELD BLVD, DENVER, COLORADO
                                               LUBBOCK, TEXAS 79424




                                                  BRIARHOLM INC
                                                                                                                          LEASE FOR STORE #861
 22)     RED LOBSTER HOSPITALITY LLC          1260 SOUTH RIVER ROAD                            RL1_0861
                                                                                                               6910 W. NEWBERRY ROAD, GAINESVILLE, FLORIDA
                                            CRANBURY, NEW JERSEY 08512




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Item #             Debtor                              Rejection Counterparty                         Store No.                    Description of Lease


                                                CALIFORNIA PROPERTY OWNER I, LLC
                                                C/O BRIXMOR PROPERTY GROUP, INC.
                                                                                                                                 LEASE FOR STORE #520
 23)     RED LOBSTER HOSPITALITY LLC            450 LEXINGTON AVENUE, 13TH FLOOR                      RL1_0520
                                                                                                                      8330 MIRA MESA BLVD, SAN DIEGO, CALIFORNIA
                                                      ATTN: GENERAL COUNSEL
                                                    NEW YORK, NEW YORK 10017




                                                 CALTAMP REALTY ASSOCIATES, LLC
                                                                                                                                  LEASE FOR STORE #28
 24)     RED LOBSTER HOSPITALITY LLC   C/O WIN PROPERTIES, INC. 10 RYE RIDGE PLAZA, SUITE 200         RL1_0028
                                                                                                                         2625 EAST BUSCH BLVD., TAMPA, FLORIDA
                                                   RYE BROOK, NEW YORK 10573




                                                        CB PORTFOLIO LLC
                                                      ATTN GRAHAM CARTER                                                           LEASE FOR STORE #884
 25)     RED LOBSTER HOSPITALITY LLC                                                                  RL1_0884
                                                        5515 BALCONES DR                                                10290 E. TECHNOLOGY BLVD., DALLAS, TEXAS
                                                     AUSTIN, TEXAS 78731-4907




                                           CG WATERTOWN LLC AND PW WATERTOWN LLC
                                                                                                                                 LEASE FOR STORE #654
 26)     RED LOBSTER HOSPITALITY LLC                   206 MAPLE LANE                                 RL1_0654
                                                                                                                      20831 STATE ROUTE 3, WATERTOWN, NEW YORK
                                               BRIDGEHAMPTON, NEW YORK 11932




                                       CHEUNG K. TOM LEUNG & BETTY YUEN-WAH LEUNG TRUST                                          LEASE FOR STORE #551
 27)     RED LOBSTER RESTAURANTS LLC                    10358 DUKE DRIVE                              RL1_0551        1010 N WESLEYAN BLVD, ROCKY MOUNT, NORTH
                                                    GILROY, CALIFORNIA 95020                                                           CAROLINA




                                                        CJ & J CORPORATION                                                       LEASE FOR STORE #322
 28)     RED LOBSTER HOSPITALITY LLC                    173 COYOTE BRUSH                              RL1_0322         391 WEST ARMY TRAIL ROAD, BLOOMINGDALE,
                                                     IRVINE, CALIFORNIA 92618                                                           ILLINOIS




                                                     CODDING ENTERPRISES
                                                                                                                                LEASE FOR STORE #609
 29)     RED LOBSTER HOSPITALITY LLC              3510 UNOCAL PLACE, SUITE 300                        RL1_0609
                                                                                                                     6440 REDWOOD DRIVE, ROHNERT PARK, CALIFORNIA
                                                  SANTA ROSA, CALIFORNIA 95403




                                              COLTRANE REAL ESTATE INVESTMENTS, LLC
                                                                                                                                  LEASE FOR STORE #680
 30)     RED LOBSTER HOSPITALITY LLC                2820 BEAR ISLAND POINTE                           RL1_0680
                                                                                                                     100 STATE ROAD 312 W, SAINT AUGUSTINE, FLORIDA
                                                   WINTER PAK, FLORIDA 32792




                                                        CONWAY INN CORP
                                                      DBA TENNESSEE RSR LLC                                                     LEASE FOR STORE #6341
 31)     RED LOBSTER RESTAURANTS LLC                                                                  RL1_6341
                                                        915 ENTERPRISE DR                                             7750 WINCHESTER ROAD, MEMPHIS, TENNESSEE
                                                 JONESBORO, ARKANSAS 72401-9201




                                                      COSTA DO SOESTO LLC
                                                   ATTN PABLO GUSTAVO LEIS                                                         LEASE FOR STORE #161
 32)     RED LOBSTER HOSPITALITY LLC                                                                  RL1_0161
                                                  C/O WILLIAM H ALBORNOZ PA                                                 2820 IH-10 EAST, BEAUMONT, TEXAS
                                                CORAL GABLES, FLORIDA 33134-3070




                                                   CR KINGSTON ASSOCIATES LLC
                                                    C/O CENTURION REALTY LLC                                                     LEASE FOR STORE #692
 33)     RED LOBSTER HOSPITALITY LLC                                                                  RL1_0692
                                                     500 5TH AVE 39TH FLOOR                                                1 MIRON LANE, KINGSTON, NEW YORK
                                                 NEW YORK, NEW YORK 10110-3899




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                                                         FAB-RITE LLC
                                                                                                                                LEASE FOR STORE #6384
 34)     RED LOBSTER HOSPITALITY LLC                     24 SENDERO                                   RL1_6384
                                                                                                                        14904 WEST 119TH STREET, OLATHE, KANSAS
                                         RANCHO SANTA MARGARITA, CALIFORNIA 92688-3007




                                                 FAR HORIZONS TRAILER VILLAGE LLC
                                                                                                                                LEASE FOR STORE #367
 35)     RED LOBSTER HOSPITALITY LLC                   15161 DE LA CRUZ DR                            RL1_0367
                                                                                                                      1400 HOWE AVENUE, SACRAMENTO, CALIFORNIA
                                              RANCHO MURIETA, CALIFORNIA 95683-9004




                                                       FNW REALTY CORP
                                                           FNWRL LLC                                                            LEASE FOR STORE #331
 36)     RED LOBSTER RESTAURANTS LLC                                                                  RL1_0331
                                                         1251 58TH ST                                                 1050 HOLCOMB BRIDGE RD, ROSWELL, GEORGIA
                                                 BROOKLYN, NEW YORK 11219-5174




                                               FSLRO 10700 PARALLEL KANSAS CITY LLC
                                                                                                                                 LEASE FOR STORE #6364
 37)     RED LOBSTER HOSPITALITY LLC               2000 MCKINNEY AVE STE 1000                         RL1_6364
                                                                                                                      10700 PARALLEL PARKWAY, KANSAS CITY, KANSAS
                                                     DALLAS, TEXAS 75201-2027




                                                    GCFP LIMITED PARTNERSHIP
                                                      C/O MATTHEW GORDER                                                          LEASE FOR STORE #406
 38)     RED LOBSTER HOSPITALITY LLC                                                                  RL1_0406
                                                       2623 SOVEREIGN WAY                                                 7404 ZAC LENTZ PKWY, VICTORIA, TEXAS
                                                 RIVERSIDE, CALIFORNIA 92506-5121




                                                            GELLY, LLC
                                                                                                                                 LEASE FOR STORE #200
                                                     17206 DOCTOR BIRD ROAD
 39)     RED LOBSTER RESTAURANTS LLC                                                                  RL1_0200          15700 SHADY GROVE ROAD, GAITHERSBURG,
                                                       ATTN: GERSON LOPEZ
                                                                                                                                      MARYLAND
                                                  SANDY SPRING, MARYLAND 20860



                                         GEORGE DUNAIANS AND FLORA DUNAIANS REVOCABLE
                                                             TRUST
                                                                                                                                LEASE FOR STORE #512
 40)     RED LOBSTER HOSPITALITY LLC              C/O RAFFI BILEMJIAN TRUSTEE                         RL1_0512
                                                                                                                     21233 HAWTHORNE BLVD, TORRANCE, CALIFORNIA
                                                      3375 LOMBARDY RD
                                                PASADENA, CALIFORNIA 91107-5647



                                       GEORGE N. SHERMAN; WILLIAM C. STUBBS III; HARPAL KAUR
                                               KHALSA C/O REAL ESTATE SERVICES INC                                               LEASE FOR STORE #408
 41)     RED LOBSTER HOSPITALITY LLC                                                                  RL1_0408
                                                          PO BOX 600653                                                  104 HIGHWAY 332, LAKE JACKSON, TEXAS
                                                   SAN DIEGO, CALIFORNIA 92160




                                                    GERALD AND RITA MESSURI
                                                                                                                                 LEASE FOR STORE #286
 42)     RED LOBSTER HOSPITALITY LLC                  20 ORCHARD HILL ROAD                            RL1_0286
                                                                                                                         198 WEST ROUTE 59, NANUET, NEW YORK
                                                    KATONAH, NEW YORK 11415




                                                     GREENWAY PROPERTY LLC
                                                   DBA GREENWAY PROPERTY LLC                                                     LEASE FOR STORE #6215
 43)     RED LOBSTER RESTAURANTS LLC                                                                  RL1_6215
                                                          PO BOX 14504                                                9067 EAST WESTVIEW RD, LONE TREE, COLORADO
                                                  SCOTTSDALE, ARIZONA 852674504




                                                       HKT ENTERPRISES, LLC
                                                                                                                                  LEASE FOR STORE #827
 44)     RED LOBSTER RESTAURANTS LLC                       PO BOX 444                                 RL1_0827
                                                                                                                      1271 U.S. ROUTE 22, BRIDGEWATER, NEW JERSEY
                                                    RARITAN, NEW JERSEY 08869




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                                                         ID SEAFOOD LLC
                                                 15915 VENTURA BOULEVARD, PH2                                                   LEASE FOR STORE #847
 45)     RED LOBSTER HOSPITALITY LLC                                                                 RL1_0847
                                                     ATTN: MATT WATERMAN                                                 2115 THAIN GRADE, LEWISTON, IDAHO
                                                    ENCINO, CALIFORNIA 91436




                                                       JFCF INVEST-3 LLC
                                                                                                                                LEASE FOR STORE #648
 46)     RED LOBSTER RESTAURANTS LLC                   20 HARRISON AVE                               RL1_0648
                                                                                                                       3009 BRITTANY COURT, ELKHART, INDIANA
                                                WALDWICK, NEW JERSEY 07463-1757




                                                   JOHNSONS TRAILER PARKS LLC
                                                                                                                               LEASE FOR STORE #6249
 47)     RED LOBSTER HOSPITALITY LLC                    16 TWIN ACRES DR                             RL1_6249
                                                                                                                      17021 PALM POINTE DRIVE, TAMPA, FLORIDA
                                                 KALISPELL, MONTANA 59901-7536




                                                        JOSEPH GAROFALO
                                                DBA JOSEPH J GAROFALO 2017 TRUST                                                LEASE FOR STORE #876
 48)     RED LOBSTER HOSPITALITY LLC                                                                 RL1_0876
                                                           7 EXETER DR                                                    1919 S. FIRST STREET, LUFKIN, TEXAS
                                                MARLBORO, NEW JERSEY 07746-2732




                                                 KANNAN NATARAJAN CO-TRUSTEE
                                                    NATARAJAN LIVING TRUST                                                     LEASE FOR STORE #858
 49)     RED LOBSTER RESTAURANTS LLC                                                                 RL1_0858
                                                        3624 LOWRY RD                                                4670 HARDY STREET, HATTIESBURG, MISSISSIPPI
                                               LOS ANGELES, CALIFORNIA 90027-1436




                                                   KIMCO REALTY CORPORATION
                                                       DBA LARGO PLAZA                                                           LEASE FOR STORE #454
 50)     RED LOBSTER HOSPITALITY LLC                                                                 RL1_0454
                                                         PO BOX 30344                                                  10500 E ULMERTON ROAD, LARGO, FLORIDA
                                                   TAMPA, FLORIDA 33630-3344




                                                     KIU ND HOLDINGS LLC
                                                                                                                                LEASE FOR STORE #641
                                                        C/O DAVID KIU
 51)     RED LOBSTER HOSPITALITY LLC                                                                 RL1_0641       2675 32ND AVENUE SOUTH, GRAND FORKS, NORTH
                                                      32 MAMMOLA WAY
                                                                                                                                       DAKOTA
                                              MEDFORD, MASSACHUSETTS 02155-2051




                                                        KOLEE 59 TRUST                                                           LEASE FOR STORE #412
 52)     RED LOBSTER HOSPITALITY LLC            5353 WEST ALABAMA STREET, #610                       RL1_0412        3162 S ATLANTIC AVE., DAYTONA BEACH SHORES,
                                                     HOUSTON, TEXAS 77056                                                               FLORIDA




                                                         KS SEAFOOD LLC
                                                 15915 VENTURA BOULEVARD, PH2                                                    LEASE FOR STORE #704
 53)     RED LOBSTER HOSPITALITY LLC                                                                 RL1_0704
                                                     ATTN: MATT WATERMAN                                                  2925 S. 9TH STREET, SALINA, KANSAS
                                                    ENCINO, CALIFORNIA 91436




                                                      L&S TOLUCA PROPERTIES
                                                                                                                                LEASE FOR STORE #228
 54)     RED LOBSTER HOSPITALITY LLC                     1393 PALISADES DR                           RL1_0228
                                                                                                                     7520 TRANSIT ROAD, WILLIAMSVILLE, NEW YORK
                                             PACIFIC PALISADES, CALIFORNIA 90272-2153




                                       LAUREL LAKES, LLC C/O MARYLAND FINANCIAL INVESTORS,
                                                               INC.                                                             LEASE FOR STORE #6306
 55)     RED LOBSTER RESTAURANTS LLC                                                                 RL1_6306
                                                2800 QUARRY LAKE DRIVE SUITE 340                                       14368 BALTIMORE AVE, LAUREL, MARYLAND
                                                   BALTIMORE, MARYLAND 21209




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                                             LEDGEWOOD OUTPARCEL INVESTORS LLC
                                               C/O ADVANCE REALTY DEVELOPMENT                                                  LEASE FOR STORE #695
 56)     RED LOBSTER RESTAURANTS LLC            1430 US HIGHWAY 206N, SUITE 100                    RL1_0695       303 ROUTE 10 - ROXBURY TOWNSHIP, LEDGEWOOD,
                                       ATTN: KURT. R. PADAVANO, CHIEF OPERATING OFFICER                                             NEW JERSEY
                                                 BEDMINSTER, NEW JERSEY 07921




                                                    LOD JACKSONVILLE LLC
                                                                                                                              LEASE FOR STORE #385
 57)     RED LOBSTER HOSPITALITY LLC                   450 SEVILLA AVE                             RL1_0385
                                                                                                                     8720 BAYMEADOWS, JACKSONVILLE, FLORIDA
                                                 CORAL GABLES, FLORIDA 33134




                                                     LOUIS WINTERMEYER
                                                       DBA RL 4010 LLC                                                       LEASE FOR STORE #307
 58)     RED LOBSTER HOSPITALITY LLC                                                               RL1_0307
                                                       893 ROUTE 9W S                                                  4010 MAPLE RD., AMHERST, NEW YORK
                                                 NYACK, NEW YORK 10960-5012




                                                    LTH INVESTMENTS LLC
                                                                                                                               LEASE FOR STORE #210
 59)     RED LOBSTER RESTAURANTS LLC           4422 DURHAM CHAPEL HILL BLVD                        RL1_0210
                                                                                                                  4416 CHAPEL HILL BLVD, DURHAM, NORTH CAROLINA
                                             DURHAM, NORTH CAROLINA 27707-2509




                                                          LUXONE LLC                                                          LEASE FOR STORE #150
 60)     RED LOBSTER HOSPITALITY LLC                   572 CHIMALUS DR                             RL1_0150          2801 NORTH MAYFAIR ROAD, WAUWATOSA,
                                               PALO ALTO, CALIFORNIA 94306-2707                                                    WISCONSIN




                                                          LUXONE LLC
                                                                                                                              LEASE FOR STORE #238
 61)     RED LOBSTER HOSPITALITY LLC                   572 CHIMALUS DR                             RL1_0238
                                                                                                                      3655 ORANGE PLACE, BEACHWOOD, OHIO
                                               PALO ALTO, CALIFORNIA 94306-2707




                                                MARK J FREITAG TRUST OF 1988
                                                                                                                               LEASE FOR STORE #6343
 62)     RED LOBSTER HOSPITALITY LLC                  207 HILLCREST DR                             RL1_6343
                                                                                                                  13090 CITY STATION DRIVE, JACKSONVILLE, FLORIDA
                                               DURANGO, COLORADO 81301-6516




                                                    MARVIN H GEISTLINGER
                                            DBA & LINDA J GEISTLINGER CO-TRUSTEE                                               LEASE FOR STORE #671
 63)     RED LOBSTER HOSPITALITY LLC                                                               RL1_0671
                                         MARVIN & LINDA GEISTLINGER REVOCABLE TRUST                                    2010 BUSINESS LANE, CHICO, CALIFORNIA
                                             SANTA ROSA, CALIFORNIA 95409-6004




                                          MESA VALLEY HOUSING ASSOCIATES II LIMITED
                                                         PARTNERSHIP                                                           LEASE FOR STORE #247
 64)     RED LOBSTER HOSPITALITY LLC                                                               RL1_0247
                                                      3 CHARTER OAK PL                                                 2965 ERIE BLVD. E, SYRACUSE, NEW YORK
                                             HARTFORD, CONNECTICUT 06106-1915



                                                 MIDWAY SHOPPING CENTER, L.P.
                                              C/O REGENCY CENTERS CORPORATION
                                                                                                                              LEASE FOR STORE #351
 65)     RED LOBSTER HOSPITALITY LLC           ONE INDEPENDENT DRIVE, SUITE 114                    RL1_0351
                                                                                                                    999 CENTRAL PARK AVE, SCARSDALE, NEW YORK
                                                 ATTN: LEASE ADMINISTRATION
                                               JACKSONVILLE, FLORIDA 32202-5019




                                                       MONTVISTA LLC
                                                                                                                              LEASE FOR STORE #529
 66)     RED LOBSTER HOSPITALITY LLC       1002 SOUTH FIRST STREET ATTN: HAI LUONG                 RL1_0529
                                                                                                                     9345 MONTE VISTA, MONTCLAIR, CALIFORNIA
                                                 ALHAMBRA, CALIFORNIA 91801




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                                                  MOUNT HUNGER HOLDINGS LLC
                                                      DBA RL DECATUR LLC                                                        LEASE FOR STORE #679
 67)     RED LOBSTER RESTAURANTS LLC                                                                 RL1_0679
                                                          1217 HIGH ST                                               2027 BELTLINE ROAD S.W., DECATUR, ALABAMA
                                                 BOULDER, COLORADO 80304-4112




                                                   OAKTREE INVESTMENTS 4 LLC
                                          C/O JOHN DAVID WILSON & BARBARA ANN WILSON                                            LEASE FOR STORE #6272
 68)     RED LOBSTER HOSPITALITY LLC                                                                 RL1_6272
                                                      6355 PRINCEVILLE CIR                                            4220 24TH AVENUE, FORT GRATIOT, MICHIGAN
                                            HUNTINGTON BEACH, CALIFORNIA 92648-5524




                                                         OLESEN AL, LLC
                                                                                                                               LEASE FOR STORE #539
 69)     RED LOBSTER RESTAURANTS LLC                  POST OFFICE BOX 274                            RL1_0539
                                                                                                                        1805 OPELIKA HWY, AUBURN, ALABAMA
                                                   BUELLTON, CALIFORNIA 93427




                                                     OP OAKHURST REALTY LLC
                                                                                                                                LEASE FOR STORE #244
 70)     RED LOBSTER RESTAURANTS LLC                     46 FLEMMING DR                              RL1_0244
                                                                                                                       2200 HIGHWAY 35, OAKHURST, NEW JERSEY
                                              HILLSBOROUGH, NEW JERSEY 08844-5281




                                       OVM DELAWARE LLC, CAMPBELL BLACKLIDGE PLAZA DE LLC,
                                       FIRST AVE./WETMORE OFFICE PLAZA DE LLC, AND TWOVM
                                                         INVESTMENTS LLC
                                                                                                                                LEASE FOR STORE #6350
 71)     RED LOBSTER HOSPITALITY LLC               C/O TOWN WEST REALTY, INC.                        RL1_6350
                                                                                                                      11695 N ORACLE ROAD, ORO VALLEY, ARIZONA
                                                   555 E. RIVER ROAD, SUITE 201
                                                     ATTN: DEBBIE HORVATH
                                                     TUCSON, ARIZONA 85704




                                                      PFA-C SILVER SPRING LC
                                                                                                                              LEASE FOR STORE #6293
 72)     RED LOBSTER RESTAURANTS LLC             12500 FAIR LAKES CIRCLE SUITE 400                   RL1_6293
                                                                                                                     8533 GEORGIA AVE, SILVER SPRING, MARYLAND
                                                     FAIRFAX, VIRGINIA 22033




                                                           PHILIP VELKA
                                                   DBA THE VELKA FAMILY TRUST                                                   LEASE FOR STORE #555
 73)     RED LOBSTER HOSPITALITY LLC                                                                 RL1_0555
                                                          1 MEMORY LN                                                   1345 DANA DRIVE, REDDING, CALIFORNIA
                                           SAN JUAN CAPISTRANO, CALIFORNIA 92675-1008




                                                      PROVENDER HALL I LLC
                                                        ATTN JOANNE FOX                                                        LEASE FOR STORE #343
 74)     RED LOBSTER HOSPITALITY LLC                                                                 RL1_0343
                                                     301 MISSION ST APT 29C                                           1500 W SOUTHWEST, LOOP 32, TYLER, TEXAS
                                              SAN FRANCISCO, CALIFORNIA 94105-6652




                                                     PROVENDER HALL IV LLC
                                                 C/O ATTN JOANNE FOX MANAGER                                                   LEASE FOR STORE #893
 75)     RED LOBSTER HOSPITALITY LLC                                                                 RL1_0893
                                                     301 MISSION ST APT 29C                                          1691 DUBLIN-GRANVILLE RD, COLUMBUS, OHIO
                                              SAN FRANCISCO, CALIFORNIA 94105-6652




                                                      RB SANDRINI FARMS LP
                                                      C/O RICHARD SANDRINI                                                     LEASE FOR STORE #315
 76)     RED LOBSTER HOSPITALITY LLC                                                                 RL1_0315
                                                       10889 CASEY AVENUE                                                3515 MCCANN RD., LONGVIEW, TEXAS
                                                  DELANO, CALIFORNIA 93215-9316




                                                       RL JENSEN BEACH LLC
                                                                                                                                LEASE FOR STORE #461
 77)     RED LOBSTER HOSPITALITY LLC          1950 BRIGHTON HENRIETTA TOWN LINE RD                   RL1_0461
                                                                                                                     3544 NW FEDERAL HWY, JENSEN BEACH, FLORIDA
                                                 ROCHESTER, NEW YORK 14623-2543




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                                       RL KAF LLC; RL SDN LLC; RL MPN LLC; RL KBN LLC; RL LCG LLC;
                                                         AND 10TH FAIRWAY LLC
                                                                                                                                    LEASE FOR STORE #189
 78)     RED LOBSTER HOSPITALITY LLC                DBA JM MANAGEMENT GROUP LLC                         RL1_0189
                                                                                                                       655 WEST JEFFERSON ROAD, ROCHESTER, NEW YORK
                                                           ATTN JOHN MESITI
                                                   ROCHESTER, NEW YORK 14624-1371




                                                             RL12580 LLC
                                                                                                                                    LEASE FOR STORE #6279
 79)     RED LOBSTER RESTAURANTS LLC                     14706 STURTEVANT RD                            RL1_6279
                                                                                                                        12580 JEFFERSON AVE, NEWPORT NEWS, VIRGINIA
                                                 SILVER SPRING, MARYLAND 20905-4457




                                                         ROBERT J SCULLIN
                                        SCULLIN REAL ESTATE V LLC AND SCULLIN REAL ESTATE VII
                                                                                                                                  LEASE FOR STORE #119
 80)     RED LOBSTER RESTAURANTS LLC                             LLC                                    RL1_0119
                                                                                                                       4455 WADSWORTH BLVD, WHEAT RIDGE, COLORADO
                                                   C/O SCULLIN MANAGEMENT INC
                                                BONITA SPRINGS, FLORIDA 34134-6906




                                                      ROWORTH ENTERPRISES LLC
                                                                                                                                   LEASE FOR STORE #404
 81)     RED LOBSTER HOSPITALITY LLC                        99-129 HOLO PL                              RL1_0404
                                                                                                                             4717 HIGHWAY 10, BAYTOWN, TEXAS
                                                       AIEA, HAWAII 96701-3026




                                                          RSC ASSOCIATES LLC
                                                                                                                                    LEASE FOR STORE #6267
 82)     RED LOBSTER RESTAURANTS LLC                         136 DEVON RD                               RL1_6267
                                                                                                                           941 EAST SAN MARNAN, WATERLOO, IOWA
                                                  ESSEX FELLS, NEW JERSEY 07021-1707




                                                              SAGA LLC
                                                                                                                                   LEASE FOR STORE #645
                                                      ATTN MR NILESH NAYAK
 83)     RED LOBSTER RESTAURANTS LLC                                                                    RL1_0645          119 TEMPLE LAKE DRIVE, COLONIAL HEIGHTS,
                                                    155 POTOMAC PSGE UNIT 626
                                                                                                                                          VIRGINIA
                                                  OXON HILL, MARYLAND 20745-1574



                                                         SCF RC FUNDING I, LLC
                                                ESSENTIAL PROPERTIES REALTY TRUST LLC
                                                                                                                                    LEASE FOR STORE #664
 84)     RED LOBSTER RESTAURANTS LLC             902 CARNEGIE CENTER BLVD., SUITE 520                   RL1_0664
                                                                                                                           2968 E TEXAS ST., BOSSIER CITY, LOUISIANA
                                                         ATTN: ASSET MANAGER
                                                     PRINCETON, NEW JERSEY 08540



                                                       SCF RC FUNDING III LLC
                                               ESSENTIAL PROPERTIES REALTY TRUST LLC
                                                                                                                                   LEASE FOR STORE #556
 85)     RED LOBSTER HOSPITALITY LLC         902 CARNEGIE CENTER BOULEVARD, SUITE 520                   RL1_0556
                                                                                                                          3217 VERMILLION STREET, DANVILLE, ILLINOIS
                                                       ATTN: ASSET MANAGER
                                                   PRINCETON, NEW JERSEY 08540




                                                            SERG 13 LLC
                                                                                                                                    LEASE FOR STORE #546
 86)     RED LOBSTER HOSPITALITY LLC                   1937 EAST 24TH STREET                            RL1_0546
                                                                                                                          3333 STATE ROAD 16, LA CROSSE, WISCONSIN
                                                     BROOKLYN, NEW YORK 11229




                                                         SHASHIKANT PATIL
                                                    DBA SPOORNA HOLDINGS LLC                                                        LEASE FOR STORE #36
 87)     RED LOBSTER RESTAURANTS LLC                                                                    RL1_0036
                                                        1131 MILLSTONE RUN                                                 1956 W. BROAD STREET, ATHENS, GEORGIA
                                                  WATKINSVILLE, GEORGIA 30677-6946




                                                       SKYHY PROPERTY LLC
                                                                                                                                    LEASE FOR STORE #320
 88)     RED LOBSTER RESTAURANTS LLC                     2330 ROUTH DR                                  RL1_0320
                                                                                                                         3112 N.W. CACHE ROAD, LAWTON, OKLAHOMA
                                              ROWLAND HEIGHTS, CALIFORNIA 91748-4859




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                                                          SMBSIRIS LLC
                                                                                                                                  LEASE FOR STORE #426
 89)     RED LOBSTER HOSPITALITY LLC                   58 WAVERLY STREET                              RL1_0426
                                                                                                                         1000 MCKINLEY MALL, BUFFALO, NEW YORK
                                                 BROOKLINE, MASSACHUSETTS 02445




                                                    SOCRATES INVESTMENTS INC
                                                                                                                                 LEASE FOR STORE #237
                                                   C/O KAUFMAN ROSSIN AND CO
 90)     RED LOBSTER RESTAURANTS LLC                                                                  RL1_0237        4243 NW EXPRESSWAY STREET, OKLAHOMA CITY,
                                                          ATTN S DEMAR
                                                                                                                                      OKLAHOMA
                                                    MIAMI, FLORIDA 33133-5344




                                                  SOUTH MIDTOWN PROPERTIES LLC
                                                           C/O WEIYE LIN                                                         LEASE FOR STORE #839
 91)     RED LOBSTER RESTAURANTS LLC                                                                  RL1_0839
                                                       1155 SWEETWATER DR                                                  370 MALL DRIVE, DANVILLE, VIRGINIA
                                                     RENO, NEVADA 89509-5250




                                                       TAAG VENTURES, LLC
                                                       4727 OSBORNE DRIVE                                                          LEASE FOR STORE #828
 92)     RED LOBSTER RESTAURANTS LLC                                                                  RL1_0828
                                                       ATTN: TYLER DANIELS                                           102 E. HALL OF FAME AVE., STILLWATER, OKLAHOMA
                                                       EL PASO, TEXAS 79922



                                       TAITZ RL MOBILE LLC; RPRL MOBILE LLC; AND WHRL MOBILE
                                                                  LLC
                                       C/O FEDERMAN STEIFMAN LLP 220 EAST 42ND STREET, 29TH                                        LEASE FOR STORE #40
 93)     RED LOBSTER RESTAURANTS LLC                                                                  RL1_0040
                                                                FLOOR                                                     3941 AIRPORT BLVD., MOBILE, ALABAMA
                                                  ATTN: MICHAEL K. FEDERMAN, ESQ.
                                                    NEW YORK, NEW YORK 10017



                                          THE EVELYN DIBENEDETTO FAMILY PARTNERSHIP LP
                                                                                                                                  LEASE FOR STORE #725
 94)     RED LOBSTER RESTAURANTS LLC                 225 FOX HUNT CRESCENT                            RL1_0725
                                                                                                                     10000 HWY. 17 N., MYRTLE BEACH, SOUTH CAROLINA
                                                    SYOSSET, NEW YORK 11791




                                                     THE GEORGE FAMILY TRUST
                                                                                                                                 LEASE FOR STORE #198
 95)     RED LOBSTER HOSPITALITY LLC                   4732 HAMPTON ROAD                              RL1_0198
                                                                                                                        4002 SPENCER HIGHWAY, PASADENA, TEXAS
                                                   LA CANADA, CALIFORNIA 91011




                                                  THE PROMENADE D'IBERVILLE, LLC
                                          ATTN: GENERAL COUNSEL/CHIEF LEGAL OFFICER 2030                                         LEASE FOR STORE #6357
 96)     RED LOBSTER RESTAURANTS LLC                HAMILTON PLACE BOULEVARD                          RL1_6357           3897 PROMENADE PARKWAY, D'IBERVILLE,
                                                       CBL CENTER, SUITE 500                                                           MISSISSIPPI
                                                CHATTANOOGA, TENNESSEE 37421-6000




                                                       THE STORAGE BIN INC
                                                                                                                                 LEASE FOR STORE #311
 97)     RED LOBSTER HOSPITALITY LLC                2945 RICHMOND TERRACE                             RL1_0311
                                                                                                                        2255 SOUTH RD, POUGHKEEPSIE, NEW YORK
                                               STATEN ISLAND, NEW YORK 10303-2310




                                                       TPI CYPRESS POINTE LLC
                                                  C/O TARANTINO PROPERTIES, INC.                                                 LEASE FOR STORE #840
 98)     RED LOBSTER HOSPITALITY LLC                                                                  RL1_0840
                                                     7887 SAN FELIPE, SUITE 237                                            302 FM 1960 WEST, HOUSTON, TEXAS
                                                      HOUSTON, TEXAS 77063




                                                         TR UWO FRED ZIESS
                                                DBA 3255 BRUNSWICK PIKE OWNER LLC                                                LEASE FOR STORE #239
 99)     RED LOBSTER RESTAURANTS LLC                                                                  RL1_0239
                                                       841 GILBERT HIGHWAY                                           3255 BRUNSWICK PIKE, LAWRENCEVILLE, NEW JERSEY
                                                   FAIRFIELD, CONNECTICUT 06824




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Item #             Debtor                    Rejection Counterparty                          Store No.                 Description of Lease



                                                 USP APOLLO, LLC
                                             C/O GRID PROPERTIES INC.                                                 LEASE FOR STORE #6385
100)     RED LOBSTER HOSPITALITY LLC                                                         RL1_6385
                                       2309 FREDERICK DOUGLASS BOULEVARD                                      261 WEST 125TH ST, NEW YORK, NEW YORK
                                           NEW YORK, NEW YORK 10027




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